                              EXHIBIT
                                     50




Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 1 of 140 PageID #: 11238
                               ,Q7KH0DWWHU2I
                              TERRY LYNN KING vs
                              TONY PARKER, et al.




         VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHARMACY OWNER
                                  October 1, 2021




                             Gibson Court Reporting
                              606 West Main Street
                                   Suite 350
                              Knoxville, TN 37902




                                    0LQ86FULSW



Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 2 of 140 PageID #: 11239
                                                                                  1


       VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHARMACY OWNER

                                  October 1, 2021

                    IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


        TERRY LYNN KING,                                   )
                                                           )
                   Plaintiff,                              ) CAPITAL CASE
                                                           )
        vs.                                                ) CASE NO.
                                                           ) 3:18-CV-01234
        TONY PARKER, et al.,                               )
                                                           )
                   Defendants.                             )




       APPEARANCES:
                          FOR THE PLAINTIFF:

                          HAYDEN NELSON-MAJOR, ESQ.
                          ALEX KURSMAN, ESQ.
                          ANA BALDRIDGE, ESQ.
                          Assistant Federal Defenders
                          Federal Community Defender Office
                          for the Eastern District of Pennsylvania
                          601 Walnut Street, Suite 545W
                          Philadelphia, Pennsylvania 19106

                          JEREMY GUNN, ESQ.
                          Bass, Berry & Sims PLC
                          150 Third Avenue South, Suite 2800
                          Nashville, Tennessee 37201




                                  *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 3 of 140 PageID #: 11240
                                                                                  2


  1    APPEARANCES:       (Continued)
  2                       FOR THE DEFENDANTS:

  3                       MIRANDA H. JONES, ESQ.
                          ROBERT W. MITCHELL, ESQ.
  4                       SCOTT C. SUTHERLAND, ESQ.
                          CODY N. BRANDON, ESQ.
  5                       Tennessee Attorney General's Office
                          P.O. Box 20207
  6                       Nashville, Tennessee 37202

  7    ALSO PRESENT: David Jenkins, Videographer

  8

  9

 10

 11

 12

 13
 14

 15

 16
 17

 18

 19

 20

 21

 22
 23

 24

 25

                                  *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 4 of 140 PageID #: 11241
                                                                                  3


  1                         S T I P U L A T I O N S
  2                The videotaped videoconference deposition of

  3    PHARMACY OWNER, called as a witness at the instance of

  4    the Plaintiff, taken pursuant to all rules applicable

  5    to the Federal Rules of Civil Procedure by notice on

  6    the 1st day of October, 2021, at 10:00 a.m., before

  7    Rhonda S. Sansom, RPR, CRR, CRC, Licensed Court

  8    Reporter, pursuant to stipulation of counsel.

  9                It being agreed that Rhonda S. Sansom, RPR,

 10    CRR, CRC, Licensed Court Reporter, may report the

 11    deposition in machine shorthand, afterwards reducing

 12    the same to typewriting.

 13                All objections except as to the form of the
 14    questions are reserved to on or before the hearing.

 15                It being further agreed that all formalities

 16    as to notice, caption, certificate, transmission, et
 17    cetera, including the reading of the completed

 18    deposition by the witness and the signature of the

 19    witness, are expressly waived.

 20

 21

 22
 23

 24

 25

                                  *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 5 of 140 PageID #: 11242
                                                                                  4


  1                                  I N D E X
  2                         E X A M I N A T I O N S

  3

  4     PHARMACY OWNER                                                 PAGE

  5     Examination by Ms. Nelson Major                                    6

  6

  7                               E X H I B I T S

  8                        (No Exhibits Were Marked.)

  9

 10

 11

 12

 13
 14

 15

 16
 17

 18

 19

 20

 21

 22
 23

 24

 25

                                  *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 6 of 140 PageID #: 11243
        9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5 5


  1                       THE VIDEOGRAPHER:        We're on record at
  2            10:00 a.m. Eastern time on October 1st, 2021.

  3                       This is the video deposition of Pharmacy

  4            Owner, taken remotely via Zoom in the matter of

  5            Terry Lynn King versus Tony Parker, et al., Case

  6            No. 3:18-CV-0124, filed in the U.S. District

  7            Court, Middle District of Tennessee, Nashville

  8            Division.

  9                       Counsel will state their names and

 10            affiliation for the record and the court reporter

 11            will swear in the witness.

 12                       MS. NELSON MAJOR:        Hayden Nelson Major

 13            with the Federal Community Defender Office for the
 14            Eastern District of Pennsylvania on behalf of

 15            plaintiff Terry King.

 16                       Also with me on the Zoom are Anna
 17            Baldridge and Alex Kursman with my office, and

 18            Jeremy Gunn with the law firm Bass, Berry & Sims.

 19                       MR. SUTHERLAND:       Good morning, everyone.

 20            I'm Scott Sutherland with the Tennessee Attorney

 21            General's Office, and I represent the defendants

 22            in this case and the deponent this morning.
 23                       With me on the Zoom is Assistant Attorney

 24            General Miranda Jones, Assistant Attorney General

 25            Cody Brandon.

                                  *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 7 of 140 PageID #: 11244
        9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5 6


  1                       I anticipate that Rob Mitchell will join
  2            us, and maybe Mallory Schiller.             Thank you.

  3                               PHARMACY OWNER,

  4    having been first duly sworn, testified as follows:

  5                                 EXAMINATION

  6    BY MS. NELSON MAJOR:

  7            Q.         Good morning.      As I said, my name is

  8    Hayden Nelson Major, and I'm an attorney with the

  9    Federal Community Defender Office in Philadelphia.                   And

 10    my colleagues and I represent the plaintiff in this

 11    matter, as I said, Terry King, and it's currently

 12    pending in the Middle District of Tennessee.

 13                       Pharmacy Owner, you understand that you're
 14    here today to answer questions related -- sorry, one

 15    second -- related to the King case; is that right?

 16            A.         That's right.
 17            Q.         Thank you for taking the time to answer

 18    questions in this matter.

 19                       What is your understanding about what the

 20    case is related to?

 21            A.         I don't have much of an understanding at

 22    all.    I know it's -- I suspect it's with the compounded
 23    drugs used in lethal injection.

 24            Q.         As you know, we are going to take your

 25    deposition on an anonymous basis.             What that means is I

                                  *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 8 of 140 PageID #: 11245
        9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5 7


  1    will not ask you questions intended to make you
  2    disclose your identity.

  3                       To be clear, though, it's my

  4    understanding that you were previously affiliated with

  5    the pharmacy that supplies the Tennessee Department of

  6    Correction with the drugs used in lethal injection

  7    executions.      Is that right?

  8            A.         Yes.

  9            Q.         I would like to cover a couple of ground

 10    rules before we get started.            Have you been taken --

 11    has your deposition ever been taken before?

 12            A.         Yes.

 13            Q.         How many times?
 14            A.         One time.

 15            Q.         When was that?

 16            A.         Six years ago.
 17            Q.         What was the case about?

 18            A.         A physician was being sued, and I was

 19    asked to be -- asked to give a deposition based on my

 20    knowledge of the -- what had transpired in the

 21    operating room.

 22            Q.         Was your knowledge about what transpired
 23    in the operating room related to your role with the

 24    pharmacy in question?

 25            A.         No.

                                  *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 9 of 140 PageID #: 11246
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5 8


   1            Q.        Someone at the Attorney General's Office
   2    may have already gone over some of these topics with

   3    you, but I want to make sure that we're on the same

   4    page.

   5                      You understand that you're under oath,

   6    right?

   7            A.        Yes.

   8            Q.        And do you understand that means you need

   9    to tell the truth to the best of your ability?

  10            A.        I do.

  11            Q.        Have you taken any medications today?

  12            A.        No.

  13            Q.        Have you consumed any alcohol or drugs in
  14    the past 24 hours?

  15            A.        No.

  16            Q.        Is there any reason that you cannot
  17    testify truthfully or accurately today?

  18            A.        There is not.

  19            Q.        Are you represented by counsel today?

  20            A.        The Tennessee Attorney General's Office.

  21            Q.        Even though your deposition is being

  22    taken over Zoom and the court reporter is making a
  23    record based on what you say, you need to respond

  24    verbally because we also can't see you right now.

  25                      Do you understand that?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 10 of 140 PageID #: 11247
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5 9


   1            A.        Understood.
   2            Q.        Okay.    In order for the court reporter to

   3    accurately record your testimony, please wait for me to

   4    finish my question before you give an answer.                 And I'll

   5    do the same for you, I'll wait for you to finish your

   6    answer before I start asking the next question.

   7                      If you don't understand a question, please

   8    let me know and I'll do my best to clarify.                But if you

   9    answer a question, I'll assume that you've understood the

  10    question that I've asked.

  11                      If you need to take a break at any time,

  12    just let me know; but if there's a question pending, I'll

  13    ask that you answer the question before we break.
  14                      Mr. Sutherland may object from time to

  15    time, but you have to answer my questions unless the

  16    objection is based on an assertion of privilege or a
  17    statute.

  18                      Do you understand that?

  19            A.        I do.

  20            Q.        Do you have any questions before we get

  21    started?

  22            A.        I do not.
  23            Q.        What did you do to prepare for the

  24    deposition today?

  25            A.        I briefly skimmed over the docket that I

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 11 of 140 PageID #: 11248
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(510


   1    found online and had a meeting with Mr. Sutherland in
   2    the Attorney General's Office.

   3            Q.        When you say you skimmed the docket, did

   4    you look at any of the filings in that case?

   5            A.        It was a brief skim.         I can't recall any

   6    specific filing.

   7            Q.        And how did you find that docket?

   8            A.        A Google search.

   9            Q.        When did you meet with Mr. Sutherland?

  10            A.        Two days ago.

  11            Q.        How long was that meeting?

  12            A.        Approximately two hours.

  13            Q.        Was there anyone else present at that
  14    meeting?

  15            A.        Mr. Mitchell was in and out.

  16            Q.        Did you review any documents during that
  17    meeting?

  18            A.        I did.

  19            Q.        What documents did you review?

  20            A.        There were protocols and an email.

  21            Q.        Can you describe the protocols for me?

  22            A.        The protocols were Tennessee's protocols
  23    for lethal injection, protocols A and B.

  24            Q.        Did you review more than one version of

  25    the protocols?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 12 of 140 PageID #: 11249
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(511


   1            A.        No, just the one.
   2            Q.        And the email that you reviewed, what was

   3    that email?

   4            A.        The email was an email to the Drug

   5    Procurer regarding availability of midazolam.

   6            Q.        Did you send that email to the Drug

   7    Procurer?

   8            A.        Yes, I did.

   9            Q.        Do you recall what year that email was

  10    dated?

  11            A.        I do not.

  12            Q.        Did you bring that email with you to the

  13    meeting?
  14            A.        No, I didn't.

  15            Q.        Did Mr. Sutherland provide it to you?

  16            A.        It was provided, yes.
  17            Q.        Outside of the protocols and the email

  18    that you just referenced, did you review any other

  19    additional documents?

  20            A.        Not that I recall.

  21            Q.        And it's your understanding that

  22    Mr. Sutherland is representing you today at this
  23    deposition; is that right?

  24            A.        Yes.

  25            Q.        Other than the docket you found on

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 13 of 140 PageID #: 11250
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(512


   1    Google, did you review any other material on your own
   2    to prepare for this deposition?

   3            A.        No.

   4            Q.        Did you meet with anyone other than

   5    Mr. Sutherland and Mr. Mitchell in preparation for this

   6    deposition?

   7            A.        I did not.

   8            Q.        Did you review the transcripts of any

   9    other depositions conducted in this case?

  10            A.        I did not.

  11            Q.        Did you consult with anyone outside of

  12    Mr. Mitchell and Mr. Sutherland in preparation, such as

  13    the Warden or the Commissioner?
  14            A.        Did not.

  15            Q.        Did you discuss your deposition with

  16    anyone other than Mr. Sutherland and Mr. Mitchell?
  17            A.        Not the details, no.

  18            Q.        Something else about the deposition?

  19            A.        I told my wife that I had to fly to

  20    Nashville to give a deposition.

  21            Q.        How much time in total do you estimate

  22    that you spent preparing for this deposition?
  23            A.        Two hours, approximately.

  24            Q.        What is your highest level of education?

  25            A.        Some college.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 14 of 140 PageID #: 11251
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(513


   1            Q.        How many years?
   2            A.        Three and a half.

   3            Q.        But you didn't graduate with a degree?

   4            A.        I did not obtain a degree.

   5            Q.        What were -- what was the focus of these

   6    three and-a-half years?

   7            A.        Primarily biology and business.

   8            Q.        Did you take any courses during those

   9    three and-a-half years related to pharmacy?

  10            A.        I did not.

  11            Q.        You're not a licensed pharmacist?

  12            A.        No, I am not.

  13            Q.        Have you ever received any kind of
  14    training in pharmacy?

  15            A.        I have not.

  16            Q.        Do you hold any certifications?
  17            A.        I do not.

  18            Q.        So your highest level of education is a

  19    high school diploma, as far as a degree received?

  20            A.        Yes.

  21            Q.        Do you hold any professional licenses?

  22            A.        I do not.
  23            Q.        Do you have any military training?

  24            A.        No.

  25            Q.        What about medical training?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 15 of 140 PageID #: 11252
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(514


   1            A.        Basic CPR.
   2            Q.        Do you participate in any volunteer

   3    programs?

   4            A.        No.

   5            Q.        Have you ever received any training in

   6    connection with executions?

   7            A.        I have not.

   8            Q.        Are you currently employed?

   9            A.        Yes.

  10            Q.        At what kind of -- kind of entity --

  11                      (Cellphone interruption.)

  12                      MS. NELSON MAJOR:        Sorry about that.

  13    BY MS. NELSON MAJOR:
  14            Q.        At what kind of entity are you currently

  15    employed?

  16            A.        Medical sales.
  17            Q.        At a for-profit business?

  18            A.        Yes.

  19            Q.        Does that company sell pharmaceuticals?

  20            A.        Yes.

  21            Q.        Does it sell compounded preparations?

  22            A.        No.
  23            Q.        How long have you been with your current

  24    employer?

  25            A.        In total, about 21 years, with a

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 16 of 140 PageID #: 11253
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(515


   1    five-year break in 2015.
   2            Q.        Was the five-year break from 2015 to

   3    2020?

   4            A.        Yes.    It would be January 2020.

   5            Q.        What is your current job title?

   6            A.        Sales representative.

   7            Q.        And what are your duties?

   8            A.        Sell medical products to various

   9    physicians.

  10            Q.        And what was your employment prior to

  11    this position during that 2015-to-2020 gap?

  12            A.        Pharmacy owner.

  13            Q.        And that's at the pharmacy that supplies
  14    Tennessee Department of Correction with drugs for use

  15    in lethal injection?

  16            A.        Correct.
  17            Q.        Now, I want to ask you a couple of

  18    questions about that pharmacy.            Did you start that

  19    business?

  20            A.        Yes, I did.

  21            Q.        By yourself?

  22            A.        No.
  23            Q.        Prior to founding that pharmacy, had you

  24    had any experience in the pharmaceutical industry?

  25            A.        Yes.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 17 of 140 PageID #: 11254
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(516


   1            Q.        What was that experience?
   2            A.        Marketing compounded medications.

   3            Q.        Is that work that you did at your both

   4    former and current employer?

   5            A.        Not in relation to my current employer,

   6    no.

   7            Q.        Prior to starting the pharmacy in

   8    question, how long had you been involved in marketing

   9    compounded preparations?

  10            A.        Approximately a year and a half.

  11            Q.        And when you formed the pharmacy in

  12    question, what were the steps that you had to take to

  13    start that business?
  14            A.        Recruit and hire qualified personnel and

  15    obtain the proper state licensing.

  16            Q.        Did you have to set up a corporate
  17    entity?

  18            A.        We did, yes.

  19            Q.        What were your -- once the pharmacy was

  20    founded, what were your duties as owner of the

  21    pharmacy?

  22            A.        Primarily marketing and managing
  23    operations.

  24            Q.        How many other owners were there?

  25            A.        Three minority owners.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 18 of 140 PageID #: 11255
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(517


   1            Q.        What were their duties?
   2            A.        One was finance, two were passive.

   3            Q.        What do you mean by "passive?"

   4            A.        They had no responsibilities or duties to

   5    the pharmacy.

   6            Q.        Were you the only owner who was involved

   7    in marketing?

   8            A.        The only owner, yes.

   9            Q.        And the only owner that was involved in

  10    managing operations, as you put it?

  11            A.        No.

  12            Q.        How many other owners were involved in

  13    managing operations?
  14            A.        One.

  15            Q.        And what did managing operations entail?

  16            A.        Ensuring adequate staff, licensing
  17    regulations, and general business management;

  18    marketing, advertising, et cetera.

  19            Q.        Without naming names, did anyone at the

  20    pharmacy report to you?

  21            A.        Yes.

  22            Q.        Who?    Without naming names under the
  23    rules, please.

  24            A.        The pharmacist and the con- -- controller

  25    and the marketing team.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 19 of 140 PageID #: 11256
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(518


   1            Q.        How often were you physically present at
   2    the pharmacy?

   3            A.        Every day.

   4            Q.        Was being owner your full-time job?

   5            A.        Yes, it was.

   6            Q.        Were you responsible for hiring staff?

   7            A.        Nonpharmacy qualified staff.            So

   8    controller, yes; marketing personnel, yes.

   9            Q.        Was somebody else responsible for hiring

  10    pharmacy staff?

  11            A.        Yes.

  12            Q.        Without naming any names, who was that

  13    person?
  14            A.        The Pharmacist in Charge.

  15            Q.        Again, without naming names, who was

  16    responsible for hiring the Pharmacist in Charge?
  17            A.        The pharmacy owners.

  18            Q.        As part of your duties, did you verify

  19    staff compliance with licensing requirements?

  20            A.        That would have been the responsibility

  21    of the Pharmacist in Charge.

  22            Q.        Who verified the Pharmacist in Charge's
  23    licensing?

  24            A.        The pharmacy owners.

  25            Q.        Were you responsible for ensuring

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 20 of 140 PageID #: 11257
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(519


   1    compliance with industry standards?
   2            A.        Along with the Pharmacist in Charge, yes.

   3            Q.        Did you observe the actual filling of

   4    prescriptions as Pharmacy Owner?

   5            A.        From time to time, yes, I would see them

   6    filling prescriptions.

   7            Q.        Were those observations casual?

   8            A.        Yes.

   9                      MR. SUTHERLAND:        Object to the form.

  10    BY MS. NELSON MAJOR:

  11            Q.        As an owner, did you share in the profits

  12    that the pharmacy made?

  13            A.        Yes.
  14            Q.        During your tenure, did the pharmacy sell

  15    commercially manufactured drugs?

  16            A.        Yes.
  17            Q.        And what is your understanding of the

  18    term "commercially manufactured drug?"

  19            A.        My understanding is that a commercially

  20    manufactured drug is a drug produced by large

  21    pharmaceutical manufacturers for the sale to the

  22    general public.
  23            Q.        And during your tenure, did the business

  24    sell compounded drugs?

  25            A.        Can you repeat that?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 21 of 140 PageID #: 11258
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(520


   1            Q.        During your tenure with the pharmacy, did
   2    the pharmacy sell compounded preparations?

   3            A.        Yes.

   4            Q.        And what is your understanding of a

   5    compounded preparation?

   6            A.        One or more drugs compounded, or -- or is

   7    mixed together, if you want to put it that way, to

   8    either alter the strength, quality, or delivery of a

   9    drug mechanism.

  10            Q.        During your tenure, the did pharmacy

  11    manufacture active pharmaceutical ingredients?

  12            A.        No.

  13            Q.        And what is your understanding of the
  14    term "active pharmaceutical ingredient?"

  15            A.        It's a bulk compound which is a primary

  16    ingredient in a specific medication.
  17            Q.        If you could approximate, what portion of

  18    the pharmacy's business during your tenure consisted of

  19    compounding?

  20            A.        It varied.      In the early days of the

  21    pharmacy, it was 90 percent of our business.                At my

  22    departure, it was maybe 20 to 30 percent.
  23            Q.        Why did it change?

  24            A.        Insurance reimbursement.

  25            Q.        Can you explain that?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 22 of 140 PageID #: 11259
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(521


   1            A.        Medical insurance.         Pharmacy benefits
   2    would no longer cover compounded medication.

   3            Q.        Do you have an understanding of why they

   4    would no longer cover that?

   5            A.        I do not.      That would have to be an --

   6                      MR. SUTHERLAND:        Object to the form.

   7                      THE WITNESS:       -- insurance question.

   8    BY MS. NELSON MAJOR:

   9            Q.        During your tenure, were the drugs in the

  10    pharmacy compounded subject to good manufacturing

  11    practice requirements, or CGMPs?

  12            A.        Yes.

  13            Q.        During your tenure, was the pharmacy
  14    inspected by the FDA?

  15            A.        It was not.

  16            Q.        During your tenure, was the pharmacy
  17    registered with the FDA as a 503(b) facility?

  18            A.        It was not.

  19            Q.        During your tenure, was the pharmacy

  20    inspected by the state Board of Pharmacy in which it

  21    was located?

  22            A.        Yes.
  23            Q.        How often?

  24            A.        I don't recall.        Once a year.

  25            Q.        During your tenure, was the pharmacy ever

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 23 of 140 PageID #: 11260
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(522


   1    issued a negative finding during one of those
   2    inspections?

   3            A.        No.

   4            Q.        When did you leave the pharmacy?

   5            A.        December 2019.

   6            Q.        What were your reasons for leaving?

   7            A.        New pharmacy ownership terminated my

   8    management agreement.

   9            Q.        Why did they terminate your management

  10    agreement?

  11            A.        They no -- no longer needed me to manage

  12    the pharmacy.

  13            Q.        Since leaving the pharmacy in December of
  14    2019, have you had any contacts with anyone else at the

  15    pharmacy?

  16            A.        No.
  17            Q.        Since leaving the pharmacy in December of

  18    2019, have you had any contact with anyone associated

  19    with the Tennessee Department of Correction?

  20            A.        Only the Drug Procurer.

  21            Q.        How often have you had contact with the

  22    Drug Procurer since leaving the pharmacy?
  23            A.        Very seldom.       Maybe three times.

  24            Q.        What did you discuss during those

  25    meetings with the Drug Procurer?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 24 of 140 PageID #: 11261
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(523


   1            A.        Continued sourcing efforts for the
   2    Department of Correction of Tennessee and to be

   3    notified of an upcoming deposition.

   4            Q.        When did those conversations happen?

   5            A.        The first one, early in 2020.            And the

   6    most recent was three weeks ago, four weeks ago.

   7            Q.        The conversation that happened three or

   8    four weeks ago, what did you discuss at that point?

   9            A.        The Drug Procurer asked if I would be

  10    willing to come up to Nashville to give a deposition in

  11    this case, and what dates worked best, and my

  12    availability.

  13            Q.        Did you talk about the substance of your
  14    testimony?

  15            A.        No.

  16            Q.        The conversation that you had in early
  17    2020, what was topic of that conversation?

  18            A.        The topic was whether or not I would be

  19    willing and able to continue to assist in sourcing

  20    chemicals for lethal injection for the Department of

  21    Correction.

  22            Q.        And what did you say to that request?
  23            A.        I agreed that I would help.

  24            Q.        What drugs did the Drug Procurer ask you

  25    to look into during that conversation?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 25 of 140 PageID #: 11262
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(524


   1            A.        Specific -- specifically, vecuronium
   2    bromide comes to mind, but I can't be certain that was

   3    the only one.

   4            Q.        Did the Drug Procurer offer to pay you a

   5    sum of money to continue that search?

   6            A.        Yes.

   7            Q.        How much?

   8            A.        I don't know that a dollar amount was

   9    ever established.        I can't recall.

  10            Q.        Was there an exchange of contracts?

  11            A.        I don't know that I ever received one.

  12            Q.        Did the Drug Procurer tell you whether

  13    they were interested in compounded or commercially
  14    available vecuronium bromide during that conversation?

  15            A.        I don't recall.

  16            Q.        During that conversation, did the Drug
  17    Procurer -- Procurer ask you to look into the

  18    availability of pentobarbital?

  19            A.        I don't recall that, no.

  20            Q.        You said you had had three conferences

  21    with the Drug Procurer; early 2020, one three or four

  22    weeks ago.     When was the third conversation?
  23            A.        There were multiple conversations.              The

  24    third would have been in early 2020.

  25            Q.        When you say "multiple conversations,"

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 26 of 140 PageID #: 11263
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(525


   1    are you saying there were more than the three times you
   2    talked to the Drug Procurer?

   3            A.        No, "multiple" meaning the two.

   4            Q.        Was that other conversation also about

   5    vecuronium bromide?

   6            A.        Yes.

   7            Q.        Were those conversations over the phone?

   8            A.        They were.

   9            Q.        Did you exchange any emails?

  10            A.        Not that I can remember.

  11            Q.        Did the Drug Procurer tell you why he was

  12    contacting you, rather than the pharmacy?

  13            A.        Not that I can remember, no.
  14            Q.        Did the Drug Procurer indicate to you

  15    that the Tennessee Department of Correction was

  16    currently unable to locate vecuronium bromide?
  17            A.        Yes.

  18            Q.        And as a result of those conversations,

  19    what did you do?

  20            A.        Not much.      I was in the process of trying

  21    to find new employment.          And it was right in the

  22    beginning of the pandemic, so there wasn't a lot going
  23    on.

  24            Q.        Did you make any efforts to locate

  25    vecuronium -- excuse me -- vecuronium bromide?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 27 of 140 PageID #: 11264
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(526


   1                      I think you might have been on mute when
   2    you answered.

   3            A.        Sorry.     There you go.

   4                      Not much of an effort.            I think I made

   5    one phone call.

   6            Q.        Without naming names, who did you call?

   7            A.        An associate pharmacy.

   8            Q.        And what did the associate pharmacy tell

   9    you?

  10            A.        They couldn't help.

  11            Q.        Are you currently looking for vecuronium

  12    bromide for the Tennessee Department of Correction?

  13            A.        I am not.
  14            Q.        Have you discussed your upcoming

  15    deposition with the pharmacist at your former pharmacy?

  16            A.        I have not.
  17            Q.        When did you first have contact with

  18    someone from the Tennessee Department of Correction

  19    related to executions?

  20            A.        Sometime around the end of 2017,

  21    beginning of 2018.

  22            Q.        If I refer to the Tennessee Department of
  23    Correction as "TDOC," will that be clear to you?

  24            A.        Yes.

  25            Q.        Were you the first person at your

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 28 of 140 PageID #: 11265
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(527


   1    pharmacy to have contact with TDOC?
   2            A.        Yes, I was.

   3            Q.        Without naming their name, what was the

   4    position of the person from TDOC who first contacted

   5    you?

   6            A.        Their position?

   7            Q.        Their position with TDOC.

   8            A.        Drug Procurer.

   9            Q.        And when did the Drug Procurer first

  10    reach out to you, if you recall?

  11            A.        End of 2017, beginning of 2018.

  12            Q.        Was that contact over email?

  13            A.        Phone calls, I remember.
  14            Q.        Did the Drug Procurer tell you why they

  15    contacted your particular pharmacy?

  16            A.        Yes.
  17            Q.        What was that reason?

  18            A.        They were looking for a compounding

  19    pharmacy to provide them with lethal injection drugs.

  20            Q.        Did the Drug Procurer tell you how he --

  21    how they found your pharmacy in particular?

  22            A.        I don't recall.
  23            Q.        Did the Drug Procurer mention particular

  24    drugs during that conversation?

  25            A.        Yes.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 29 of 140 PageID #: 11266
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(528


   1            Q.        Which drugs?
   2            A.        Pentobarbital, midazolam, vecuronium

   3    bromide, and potassium chloride.

   4            Q.        And the Drug Procurer told you that they

   5    were specifically -- specifically looking for

   6    compounded preparations?

   7            A.        No.

   8            Q.        Did the Drug Procurer ask you to do

   9    something?

  10            A.        I'm a little confused with the question.

  11    Asked me to do something in specific?

  12                      MR. SUTHERLAND:        Object.    Object to the

  13            form.
  14    BY MS. NELSON MAJOR:

  15            Q.        The Drug Procurer mentioned four drugs to

  16    you.    Did the Drug Procurer ask you to look into the
  17    availability of those drugs?

  18            A.        Yes.

  19            Q.        Did the Drug Procurer ask whether the

  20    pharmacy was willing to provide those drugs to TDOC for

  21    use in executions?

  22            A.        Yes.
  23            Q.        And what was your answer?

  24            A.        The answer was initially yes, if we can

  25    get licensed in Tennessee.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 30 of 140 PageID #: 11267
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(529


   1            Q.        Did you make that decision by yourself?
   2            A.        No.

   3            Q.        Who did you make that decision with?

   4            A.        The pharmacy ownership group.            And I also

   5    consulted with our Pharmacist in Charge.

   6            Q.        Did you have any concerns about the

   7    pharmacy providing drugs to TDOC for use in executions?

   8                      MR. SUTHERLAND:        I'm going to object to

   9            the form.     You can answer.

  10                      THE WITNESS:       I did not.

  11    BY MS. NELSON MAJOR:

  12            Q.        Did anyone else in that decision-making

  13    team express concerns to you about providing drugs to
  14    TDOC for use in executions?

  15                      MR. SUTHERLAND:        Same objection.       You can

  16            answer.
  17                      THE WITNESS:       Nothing was expressed to

  18            me.

  19    BY MS. NELSON MAJOR:

  20            Q.        What is your position on the death

  21    penalty?

  22                      MR. SUTHERLAND:        Objection to form.        You
  23            can answer.

  24                      THE WITNESS:       I'm for the death penalty.

  25    BY MS. NELSON MAJOR:

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 31 of 140 PageID #: 11268
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(530


   1            Q.        How did you arrive at that position?
   2                      MR. SUTHERLAND:        Same objection.

   3                      THE WITNESS:       My belief in capital

   4            punishment?

   5    BY MS. NELSON MAJOR:

   6            Q.        Yes.

   7            A.        How I arrived at that?            I really don't

   8    know how to answer that to you.            I would imagine it's

   9    probably part of my upbringing.

  10            Q.        Did the Drug Procurer give you

  11    instructions on how to look for those four drugs?

  12            A.        No.

  13            Q.        What did you do to look for those four
  14    drugs?

  15                      MR. SUTHERLAND:        You can -- you can

  16            answer the question without identifying specific
  17            sources or individuals or companies that you --

  18                      THE WITNESS:       We searched a number of

  19            drug suppliers that we use for the pharmacy, and

  20            even some that we don't use but that are known

  21            drug suppliers.

  22    BY MS. NELSON MAJOR:
  23            Q.        When you say "we," who is "we?"

  24                      MR. SUTHERLAND:        Don't identify anyone by

  25            name.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 32 of 140 PageID #: 11269
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(531


   1                      THE WITNESS:       Myself, the Pharmacist in
   2            Charge.

   3    BY MS. NELSON MAJOR:

   4            Q.        Was the Pharmacist in Charge the same

   5    person -- the same person throughout your entire tenure

   6    with the pharmacy?

   7            A.        No.

   8            Q.        When did the Pharmacist in Charge change?

   9            A.        I can't recall the exact date.            Maybe

  10    sometime in 2017.

  11            Q.        Specifically about your search for

  12    pentobarbital, did you contact other pharmacies?

  13            A.        No.
  14            Q.        Did you contact other suppliers?

  15            A.        Yes.

  16            Q.        How did you make those contacts?
  17            A.        Phone calls.

  18            Q.        How many suppliers did you contact in

  19    your research for pentobarbital?

  20            A.        I can't recall.        Several.

  21            Q.        Less than five?

  22            A.        More than five.
  23            Q.        More than ten?

  24                      MR. SUTHERLAND:        Object to the form, and

  25            all the -- all this line of questioning.               Same

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 33 of 140 PageID #: 11270
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(532


   1            objection.
   2                      THE WITNESS:       Yes, more than ten.

   3    BY MS. NELSON MAJOR:

   4            Q.        More than 20?

   5            A.        I'm not sure.

   6            Q.        Did you document the pharmacies that you

   7    contacted in any way?

   8            A.        I didn't contact any pharmacies; so, no.

   9            Q.        Did you document the suppliers that you

  10    contacted?

  11            A.        I kept a list at the time, yes.

  12            Q.        And over the course of how many days did

  13    you make these contacts?
  14                      MR. SUTHERLAND:        Object to the form.

  15                      THE WITNESS:       I don't know that.

  16    BY MS. NELSON MAJOR:
  17            Q.        Was it several months?

  18            A.        Possibly, yes.

  19            Q.        How many suppliers did the Pharmacist in

  20    Charge contact?

  21            A.        I do not know.

  22                      MR. SUTHERLAND:        Object to the form.
  23    BY MS. NELSON MAJOR:

  24            Q.        Did the Pharmacist in Charge discuss with

  25    you their efforts to look for pentobarbital?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 34 of 140 PageID #: 11271
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(533


   1            A.        Yes.
   2            Q.        When you were contacting suppliers, did

   3    you tell the supplier you were looking for commercially

   4    manufactured pentobarbital?

   5                      MR. SUTHERLAND:        Object to form.       You can

   6            answer.

   7                      THE WITNESS:       Yes.

   8    BY MS. NELSON MAJOR:

   9            Q.        Did you tell them that you were also

  10    interested in pentobarbital API?

  11            A.        That would depend on the supplier I was

  12    talking to.

  13            Q.        So for some suppliers you did ask about
  14    pentobarbital API?

  15            A.        Yes.

  16            Q.        How did you make the decision about which
  17    pharmacies to ask about pentobarbital API?

  18                      MR. SUTHERLAND:        Object to the form.        You

  19            can answer.

  20                      THE WITNESS:       I did not ask pharmacies

  21            about APIs.

  22    BY MS. NELSON MAJOR:
  23            Q.        Excuse me.      How did you make the decision

  24    about which suppliers to ask about pentobarbital API?

  25            A.        Some suppliers sell APIs.           Those are

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 35 of 140 PageID #: 11272
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(534


   1    known suppliers.       And some suppliers sell commercially
   2    manufactured pentobarbital.

   3            Q.        And how do you know that information

   4    about the suppliers?

   5                      You're on mute, Pharmacy Owner.

   6            A.        We know through our vendors who we

   7    purchase -- the pharmacy would purchase commercially

   8    manufactured drugs versus vendors that we used for our

   9    compounding business.         We -- we knew who supplied APIs

  10    and we knew who supplied commercially manufactured

  11    drugs.

  12            Q.        When you made these phone calls, did you

  13    tell them the amount of pentobarbital that you were
  14    looking for?

  15            A.        Yes.

  16            Q.        What was that amount?
  17            A.        I can't recall what the exact amount is.

  18            Q.        Do you have a general recollection of

  19    what the amount was?

  20            A.        Whatever was required for Protocol A.

  21            Q.        So you were looking for enough

  22    pentobarbital for one execution when you made the phone
  23    calls to the suppliers?

  24            A.        I'm sure not.

  25            Q.        Can you explain that?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 36 of 140 PageID #: 11273
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(535


   1            A.        In order for us to validate and test
   2    product, the compounded product, we would need more

   3    than what's required by Protocol A.                 So I'm not sure of

   4    the exact number we were looking for, but enough to --

   5    enough for Protocol A, plus whatever we needed to test

   6    the batch.

   7            Q.        Did the Drug Procurer instruct you on an

   8    amount to ask about when contacting suppliers?

   9            A.        No.

  10                      MR. SUTHERLAND:        Object to the form.

  11    BY MS. NELSON MAJOR:

  12            Q.        When you contacted the suppliers, did you

  13    tell them what you were planning to use the
  14    pentobarbital for?

  15            A.        In compounding, yes.

  16            Q.        Did you tell the suppliers that you
  17    intended to provide it to the Tennessee Department of

  18    Correction for use in executions?

  19                      MR. SUTHERLAND:        Objection to the form.

  20            You can answer.

  21                      THE WITNESS:       No.

  22    BY MS. NELSON MAJOR:
  23            Q.        Did you search any databases during this

  24    initial search?

  25            A.        No, not that I can....

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 37 of 140 PageID #: 11274
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(536


   1            Q.        Are you aware of whether the Pharmacist
   2    in Charge searched any databases?

   3            A.        I am not.

   4            Q.        Did this search for pentobarbital

   5    continue into 2018?

   6            A.        Yes.

   7            Q.        Did you discuss your efforts with the

   8    Drug Procurer?

   9            A.        Yes, I did.

  10            Q.        How?    Over the phone, or email?

  11            A.        Probably both.

  12            Q.        And what did you relay to the Drug

  13    Procurer about those efforts?
  14            A.        That we couldn't get pentobarbital.

  15            Q.        How often did you update the Drug

  16    Procurer?
  17            A.        I don't recall.        I think we had monthly

  18    conversations.

  19            Q.        Did any of the suppliers indicate to you

  20    that they had pentobarbital in an amount lesser than

  21    the one you had inquired about?

  22            A.        Yes.
  23            Q.        I'm sorry, I couldn't quite catch your

  24    answer.

  25            A.        Yes.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 38 of 140 PageID #: 11275
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(537


   1            Q.        Do you recall how much pentobarbital that
   2    supplier indicated to you that they could provide you

   3    with?

   4            A.        No.

   5            Q.        Was it more than one supplier that

   6    indicated to you that they would provide you with

   7    pentobarbital, but not at the amount that you had

   8    requested?

   9            A.        Several of them had the availability of

  10    pentobarbital.

  11            Q.        Did you relay that information to the

  12    Drug Procurer?

  13            A.        Yes.
  14            Q.        What was the Drug Procurer's response?

  15            A.        "Can we order it?"

  16            Q.        And did you in fact order the
  17    pentobarbital?

  18            A.        We could not.

  19            Q.        Why could you -- why could the pharmacy

  20    not order the pentobarbital?

  21            A.        The drug supplier required a signed

  22    affidavit that it not be used in executions.
  23            Q.        Was that true of all of the drug

  24    suppliers that indicated to you that they had

  25    pentobarbital but not at the amount that you required?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 39 of 140 PageID #: 11276
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(538


   1            A.        Yes.
   2            Q.        Could you please pull up Exhibit 13.

   3    Take a minute to look it over once you have it up.

   4                      (Witness reviews document.)

   5                      THE WITNESS:       Okay.    I'm familiar with

   6            it.

   7    BY MS. NELSON MAJOR:

   8            Q.        Did you write or receive any of these

   9    emails?

  10            A.        I wrote that email.

  11            Q.        At the bottom of the first page, there's

  12    an email from July 20th, 2017, at 12:19 p.m.                Do you

  13    see that?
  14                      Pharmacy Owner, do you see that email at

  15    the bottom of the first page?

  16            A.        Yes, I do.
  17            Q.        It states:      "Has there been any positive

  18    progress on your end?"         Did you write this email?

  19            A.        That one, no.

  20            Q.        Did the Drug Procurer write this email to

  21    you?

  22            A.        Yes.
  23            Q.        What was your understanding of what the

  24    Drug Procurer was asking you about?

  25                      MR. SUTHERLAND:        Object to the form.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 40 of 140 PageID #: 11277
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(539


   1                      THE WITNESS:       My understanding is he was
   2            asking how the search for pentobarbital was going.

   3    BY MS. NELSON MAJOR:

   4            Q.        And was your response to that email at

   5    the top of the page at 5:05 p.m.?

   6            A.        Yes, that's my response.

   7            Q.        And you wrote:       "I have some news on the

   8    pento.       It's not good.    I had the DEA invite me over to

   9    discuss it."

  10                      What was the news on pento?

  11            A.        That we could not import it from outside

  12    of the United States.

  13            Q.        Is that what the DEA told you?
  14            A.        Yes.

  15            Q.        How did the DEA invite you over?

  16            A.        We were in the process of opening
  17    multiple pharmacy locations and applied for several DEA

  18    licenses, and they asked to interview me.

  19            Q.        When did you meet with the DEA?

  20            A.        I don't recall the date.

  21            Q.        When they asked to meet with you, did

  22    they tell you why?
  23            A.        Yes.

  24            Q.        And what was that?

  25            A.        They wanted to interview me regarding the

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 41 of 140 PageID #: 11278
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(540


   1    multiple DEA licenses that we were applying for.
   2            Q.        Did that meeting happen in person?

   3            A.        Yes, it did.

   4            Q.        At that meeting, did you volunteer

   5    information about the efforts you were making on behalf

   6    of TDOC?

   7            A.        I did not.

   8            Q.        Were you the only person from your

   9    pharmacy who attended that meeting?

  10            A.        Yes.

  11            Q.        Was there anyone else present there?

  12            A.        Several DEA officers.

  13            Q.        If you did not volunteer information
  14    about the efforts you were making on behalf of TDOC,

  15    how was the DEA, if you know, aware of those efforts?

  16            A.        I asked the DEA what the status would
  17    be -- or on the importation of pentobarbital from

  18    outside the United States.

  19            Q.        Did you tell the DEA that you were

  20    inquiring about pentobarbital for use in executions?

  21            A.        No, I did not.

  22            Q.        How long was that meeting?
  23            A.        30, 45 minutes.

  24            Q.        And what was the DEA's response to that

  25    inquiry you just described?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 42 of 140 PageID #: 11279
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(541


   1            A.        That pentobarbital is available in the
   2    United States and therefore cannot be imported.

   3            Q.        During that conversation, did you inquire

   4    about importation of pentobarbital API?

   5            A.        No.

   6            Q.        Is that the only contact you had with the

   7    DEA related to your efforts to import pentobarbital?

   8                      MR. SUTHERLAND:        I'm going to object to

   9            the form.     The witness hasn't said that was the

  10            purpose of the contact.

  11                      THE WITNESS:       Right.    The purpose of my

  12            visit with the DEA was regarding our multiple

  13            pharmacy locations.        It was a sidebar question.
  14    BY MS. NELSON MAJOR:

  15            Q.        Did you indicate to the pharmacy --

  16    excuse me, the DEA -- what the purpose of the
  17    pentobarbital would be at all?

  18            A.        I did not.

  19            Q.        What did you tell the Drug Procurer about

  20    the meeting?

  21            A.        I told the Drug Procurer that I would not

  22    be able to import pentobarbital.
  23            Q.        Did you tell the Drug Procurer that you

  24    did not tell the DEA about the intended purpose of the

  25    pentobarbital?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 43 of 140 PageID #: 11280
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(542


   1            A.        I don't recall that, no.
   2            Q.        You don't recall, or you don't believe

   3    that you did?

   4            A.        I don't believe that I did.

   5            Q.        Did you do any other further research

   6    regarding the possibility of importing pentobarbital?

   7            A.        No.

   8            Q.        Can you pull up Exhibit 6, please.

   9                      Have you seen this email before?

  10            A.        I can't recall if I've seen that one or

  11    not.    It doesn't look familiar.

  12            Q.        At some point, did the Drug Procurer

  13    convey to you that TDO- -- TDOC had made a decision to
  14    pursue a three-drug midazolam protocol?

  15            A.        Yes.

  16            Q.        Can you pull up Exhibit 7, please.              And
  17    turn to the second page when you have it open, please.

  18            A.        Okay.

  19            Q.        On the second page, there's an email

  20    dated 12:58 p.m.        Did you write this email?

  21            A.        Yes, I did.

  22            Q.        And who did you send this email to?
  23            A.        Drug Procurer.

  24            Q.        And this email subject is "Update" --

  25    although the T and the A are transposed.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 44 of 140 PageID #: 11281
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(543


   1                      At the beginning of your email, you write:
   2    "That stuff is readily available with potassium

   3    chloride."     What is "that stuff?"

   4            A.        I don't recall that.

   5            Q.        Reading on, it says:

   6                      "I reviewed several protocols from other

   7                      states that currently use that method.

   8                      Most have a three-drug protocol including a

   9                      paralytic, potassium chloride.            Here is my

  10                      concern with midazolam."

  11                      Does that refresh your recollection as to

  12    what "that stuff" in the first sentence is referring to?

  13            A.        It does not.
  14            Q.        You write that you reviewed several

  15    protocols from states that currently use that method.

  16    What states' protocols did you review?
  17            A.        I don't recall.

  18            Q.        Were they protocols for lethal injection

  19    executions?

  20            A.        Yes, they were.

  21            Q.        How did you get access to those

  22    protocols?
  23            A.        Google searching

  24            Q.        Why did you review other states'

  25    protocols?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 45 of 140 PageID #: 11282
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(544


   1            A.        To search what other states were doing.
   2            Q.        Did the Drug Procurer ask you to review

   3    any protocols from other states?

   4            A.        I don't remember.

   5            Q.        Were you reviewing protocols of states

   6    that use a particular method of lethal injection?

   7            A.        Nothing specific, just lethal injection.

   8            Q.        And then you write further:

   9                      "Here is my concern with midazolam.              Being

  10                      a benzodiazepine, it does not elicit strong

  11                      analgesic effects.         The subjects may be

  12                      able to feel pain during the administration

  13                      of the second and third drugs, potassium
  14                      chloride especially."

  15                      Did the Drug Procurer ask you whether you

  16    had any concerns about midazolam?
  17            A.        Not that I can recall.

  18            Q.        How did you arrive at these concerns?

  19            A.        I think it's been the position of

  20    opponents of capital punishment for years.                It's in

  21    several news articles that I read.             It's kind of the --

  22    it's been a standard in the argument for years.
  23            Q.        Why did you express concerns about the

  24    potassium chloride in particular?

  25            A.        Again, those were arguments being made

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 46 of 140 PageID #: 11283
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(545


   1    against other departments of corrections.
   2            Q.        Did the Drug Procurer respond to your

   3    concerns that you raised in this email?

   4            A.        Not that I recall.

   5            Q.        Did you discuss it on the telephone?

   6            A.        Not that I recall.

   7            Q.        Did anyone else at TDOC ever discuss with

   8    you the concerns you had about -- that you expressed in

   9    this email?

  10            A.        No.

  11            Q.        The email continues:         "Consider the use

  12    of an alternative like ketamine, or use in conjunction

  13    with an opioid."
  14                      Why did you suggest ketamine?

  15            A.        Those were drugs being used in other

  16    states.
  17            Q.        Why did you suggest adding an opioid?

  18            A.        The argument is that midazolam is a

  19    benzodiazepine and has no analgesic effect.                I

  20    suggested an opioid, again, because that was something

  21    being done in other states and it is an analgesic.

  22            Q.        Did you ever discuss the possibility of
  23    TDOC using ketamine with the Drug Procurer?

  24            A.        Other than that email, no.

  25            Q.        Did you have any other conversations

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 47 of 140 PageID #: 11284
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(546


   1    about the addition of an opioid?
   2            A.        Not that I can recall.

   3            Q.        All right.      Will you please pull up

   4    Exhibit 8.     It's an email chain from the same date,

   5    September 7, 2017.

   6                      If you look at the bottom of the page --

   7            A.        Okay.

   8            Q.        -- there's an email dated 12:33 p.m.,

   9    which says:

  10                      "Well, as you say, it'll probably be good

  11                      to see what other options are readily

  12                      available, other than midazolam; like

  13                      etomidate, ketamine, sodium thiopental, et
  14                      cetera."

  15                      Did the Drug Procurer write this email to

  16    you?
  17            A.        Yes.

  18            Q.        Did you look into the availability of

  19    these three drugs in response to the Drug Procurer's

  20    email?

  21            A.        I did.

  22            Q.        There's an email at the top of the page
  23    from 1:39.     Was this your response?

  24            A.        Yes, it was.

  25            Q.        It says, you wrote:         "Etomidate, limited

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 48 of 140 PageID #: 11285
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(547


   1    supply."     What does "limited supply" mean?
   2                      MR. SUTHERLAND:        Object to the form.

   3                      THE WITNESS:       I can't recall.       Typically,

   4            it would mean that the availability is low, not

   5            enough supply.

   6    BY MS. NELSON MAJOR:

   7            Q.        And "Ketamine, ample supply."            What did

   8    you mean by "ample supply?"

   9                      MR. SUTHERLAND:        Object to the form.        You

  10            can answer.

  11                      THE WITNESS:       It's readily available.

  12    BY MS. NELSON MAJOR:

  13            Q.        And why did you write that sodium
  14    thiopental was no longer available?

  15            A.        It was an older drug and no longer being

  16    manufactured.
  17            Q.        What quantities were you looking for when

  18    you did this search?

  19            A.        I don't recall.

  20            Q.        How did you determine the availability of

  21    these three drugs?

  22            A.        Through our vendors.
  23            Q.        Did you call vendors?

  24            A.        Call vendors?       Yes.

  25            Q.        Did you do anything else?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 49 of 140 PageID #: 11286
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(548


   1            A.        Searched our -- our vendor -- our vendor
   2    portal.      Our vendor portal.

   3            Q.        Is the vendor portal a database that the

   4    pharmacy maintained?

   5            A.        No.

   6            Q.        Is it maintained by a separate entity?

   7            A.        Drug distributors.

   8            Q.        Does that vendor portal have both

   9    commercially manufactured and APIs listed?

  10            A.        I'm not sure.       I know it has commercially

  11    manufactured.

  12            Q.        When you searched that portal, do you

  13    have to enter in an amount of the drug that you're
  14    looking for?

  15            A.        No.

  16            Q.        Did the pharmacy just use one portal or
  17    were there multiple portals?

  18            A.        Multiple.

  19            Q.        How many?

  20            A.        I don't know.

  21            Q.        Were all of the portals available limited

  22    to commercially manufactured drugs?
  23            A.        No.

  24            Q.        How many of the portals included API?

  25            A.        I don't know.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 50 of 140 PageID #: 11287
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(549


   1            Q.        If you were looking for an API in
   2    particular, was there a particular database that you

   3    would consult?

   4            A.        We did have primary vendors for our APIs,

   5    so we would go to those guys first.

   6            Q.        When you say -- when you say go to them

   7    first, do you mean call them first?

   8            A.        No.    We would search them first, whether

   9    it's a phone call or whatever the preferred method was.

  10            Q.        In the Drug Procurer's initial email to

  11    you in Exhibit 8, the Drug Procurer writes:

  12    "Etomidate, ketamine, sodium thiopental, et cetera."

  13    Did you take that as directions to look for drugs other
  14    than the ones listed in that email?

  15            A.        I did not.

  16            Q.        So the search in response to that email
  17    was limited to etomidate, ketamine, and sodium

  18    thiopental?

  19            A.        Yes.

  20            Q.        Can you please pull up Exhibit 9.             And

  21    take a look at the email that begins on the bottom of

  22    the first page and carries over to the second page.
  23    It's timestamped 8:44 a.m.

  24                      Did you write any portions of this email?

  25            A.        No.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 51 of 140 PageID #: 11288
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(550


   1            Q.        Did the Drug Procurer write this email?
   2            A.        I'm not sure.

   3            Q.        Maybe we can take it a piece at a time

   4    and see if you recall any of the portions.

   5                      The initial paragraph of the email says:

   6                      "So the word from the powers that be is

   7                      that we want to move forward with ordering

   8                      the items for a three-drug protocol,

   9                      including midazolam, vecuronium bromide,

  10                      and potassium chloride."

  11                      After reading that, do you recall whether

  12    the Drug Procurer wrote that?

  13            A.        I don't know if it was the Drug Procurer.
  14    I don't know.      I just can't recall.

  15            Q.        Do you recall whether it was someone from

  16    TDOC, regardless of position?
  17            A.        I don't.

  18                      MS. NELSON MAJOR:        Maybe this would be a

  19            good point to stop and take a ten-minute break.

  20            We've been going for about an hour straight.                We

  21            can come back at 20 after, if that's okay with

  22            you, Mr. Sutherland?
  23                      MR. SUTHERLAND:        It is, Ms. Nelson Major.

  24            Thank you.

  25                      THE VIDEOGRAPHER:        We're off the record

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 52 of 140 PageID #: 11289
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(551


   1            at 11:09 a.m.
   2                      (Recess at 11:09 a.m. to 11:21 a.m.)

   3                      THE VIDEOGRAPHER:        We are back on the

   4            record at 11:21 a.m.

   5    BY MS. NELSON MAJOR:

   6            Q.        Pharmacy Owner, we are still looking at

   7    Exhibit 9, that second page.           You testified that you

   8    don't recall whether the Drug Procurer wrote this email

   9    or not.

  10                      Do you recall whether you received this

  11    email at some point or not?

  12            A.        Yes.

  13            Q.        You do recall receiving this email?
  14            A.        Yes.

  15            Q.        So the first paragraph states, as we just

  16    talked about, that:
  17                      "The word from the powers that be is that

  18                      we want to move forward with ordering items

  19                      for a three-drug protocol, including

  20                      midazolam, vecuronium, and potassium

  21                      chloride."

  22                      What was your understanding of that
  23    statement?

  24            A.        That they were ready to proceed with

  25    ordering drugs for lethal injection.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 53 of 140 PageID #: 11290
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(552


   1            Q.        And particularly, the three drugs listed?
   2            A.        Yes.

   3            Q.        And then the next paragraph states that:

   4    "The protocol calls for the following dosages."                 And

   5    No. 1 is:

   6                      "5-gram doses of midazolam.           Our previous

   7                      protocol called for 5 grams of sodium

   8                      thiopental, so we intend to do 5 grams of

   9                      midazolam.

  10                      Does that need to be compounded and of a

  11                      certain concentration-slash-purity, based

  12                      on what you have seen in other protocols?"

  13                      Was that a question posed to you?
  14            A.        Yes.

  15            Q.        And then the next sentence states:

  16                      "5 grams seems like a lot.           It is 10 times
  17                      the amount used by other states.             The

  18                      protocols I reviewed for Arkansas, Ohio,

  19                      and Virginia call for only 500 milligrams

  20                      of midazolam.       Highest concentration

  21                      available is 5 milligrams per ml in 10-l"

  22                      -- "10-ml vials.        You would need 10 vials."
  23                      Is that the response that you wrote in

  24    response to that question?

  25            A.        Yes.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 54 of 140 PageID #: 11291
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(553


   1            Q.        Were you recommending that the TDOC use
   2    500 milligrams of midazolam instead of 5 grams?

   3                      MR. SUTHERLAND:        Object to the form.

   4                      THE WITNESS:       I was making no

   5            recommendations.

   6    BY MS. NELSON MAJOR:

   7            Q.        Was it your opinion that 5 milligrams was

   8    an inappropriate dose in light of what you had reviewed

   9    from other states?

  10                      MR. SUTHERLAND:        Object to the form.

  11                      THE WITNESS:       5 milligrams would have

  12            been inappropriate, I believe, for anyone.

  13    BY MS. NELSON MAJOR:
  14            Q.        And 5 milligrams or 5 grams?

  15            A.        I thought you asked 5 milligrams.

  16            Q.        I'm sorry, I misspoke, then.            Was it your
  17    opinion that 5 grams was an inappropriate dose?

  18                      MR. SUTHERLAND:        Object to the form.

  19                      THE WITNESS:       I have no opinion, one way

  20            or the other.

  21    BY MS. NELSON MAJOR:

  22            Q.        What was your intent in providing this
  23    information to TDOC?

  24            A.        Just to point out what other states were

  25    doing.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 55 of 140 PageID #: 11292
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(554


   1            Q.        Why did you review protocols from
   2    Arkansas, Ohio, and Virginia?

   3            A.        It was part of the research that I had

   4    done for the three-drug cocktail.

   5            Q.        Had you reviewed any execution protocols

   6    prior to your involvement with TDOC?

   7            A.        No.

   8            Q.        How did you know the highest

   9    concentration of midazolam available?

  10                      MR. SUTHERLAND:        Object to the form.

  11                      THE WITNESS:       I only know what the drug

  12            suppliers have that's commercially available

  13            stock.
  14    BY MS. NELSON MAJOR:

  15            Q.        So the highest concentration is something

  16    you found by contacting the drug suppliers?
  17            A.        I don't believe I contacted the drug

  18    suppliers for their strength.

  19            Q.        Then how would you know the available

  20    strength?

  21            A.        I can't recall how I looked that up.

  22    Yeah, I can't recall how I looked it up.
  23            Q.        And No. 2 states:        "100 milligrams, 1

  24    milligram per 1-ml dose of vecuronium available as

  25    powder and 1 milligram per ml in 10-ml vials."

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 56 of 140 PageID #: 11293
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(555


   1                      And then the response is:           It would need to
   2    be reconstituted and you would need 10 vials."

   3                      Did you write that response?

   4            A.        I did.

   5            Q.        What does "reconstitute" means?

   6            A.        Changed from a crystalline form or a

   7    powder form to an aqueous solution for injection.

   8            Q.        How did you know that the vecuronium

   9    needed to be reconstituted?

  10            A.        It was in the package insert.

  11            Q.        Had you consulted a package insert in

  12    writing this response?

  13            A.        Yes.
  14            Q.        Did the pharmacy have vecuronium on hand?

  15            A.        I don't recall if we had any in-house at

  16    this time.
  17            Q.        No. 3 states:       "100 ml of a 2 mEq-per-ml

  18    concentrate dose of potassium chloride."               And it

  19    states:      "Typical dosing is 240 mEq.            Strengths

  20    available are 2 mEq per ml in 20-ml vials.                You will

  21    need six."

  22                      What did you mean by "typical dosing?"
  23            A.        Dosing that was used in other states.

  24            Q.        And again, how did you know the available

  25    strengths?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 57 of 140 PageID #: 11294
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(556


   1            A.        I don't recall how I looked that up,
   2    either.

   3            Q.        How did you know how many vials would be

   4    needed?

   5            A.        Well, I knew what vials were available.

   6            Q.        After the discussion of doses that we

   7    just went through, the next question is posed halfway

   8    down the page.       It states:      "We would like to order

   9    enough of the above for 20 inmates.                 Can that be done?

  10    What would the cost be?"

  11                      Are those questions that were posed to you?

  12            A.        Yes.

  13            Q.        The response states:         "The only problem I
  14    see will be with vecuronium.           It goes on back order

  15    often.       Supply is usually limited."

  16                      Did you write that response?
  17            A.        Yes.

  18            Q.        How did you know that the supply of

  19    vecuronium goes on back order often?

  20            A.        Information came from a drug supplier.

  21            Q.        Further on toward the bottom of the email

  22    there are some questions about shelf life and
  23    compounding.      It's the last full paragraph on that

  24    page.

  25                      Did the Drug Procurer write those

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 58 of 140 PageID #: 11295
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(557


   1    questions to you?
   2            A.        I don't know.       I'm not sure.

   3            Q.        And then the response is:           "There will be

   4    no need to compound unless you wanted us to prep the

   5    syringes for you."

   6                      Did you write that response?

   7            A.        Yes.

   8            Q.        Did you anticipate filling TDOC's order

   9    for all three drugs with commercially available

  10    versions at that point?

  11            A.        If they were available, yes.

  12            Q.        And did you in fact initially provide

  13    TDOC with commercially available versions of all three
  14    drugs?

  15            A.        We did.

  16            Q.        And at some point, did you switch to
  17    compounded preparations for TDOC?

  18            A.        Yes.

  19            Q.        Did you switch to compounded preparations

  20    for all three drugs?

  21            A.        No.

  22            Q.        Which drugs did you at some point switch
  23    to compounding?

  24            A.        Midazolam and the potassium chloride.

  25            Q.        Outside of your contact with TDOC, how

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 59 of 140 PageID #: 11296
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(558


   1    often did you discuss with a customer the
   2    concentrations and volumes necessary to fill a

   3    prescription?

   4            A.        Me, never.

   5            Q.        Who was generally responsible for these

   6    conversations?

   7            A.        The Pharmacist in Charge.

   8            Q.        Why was the Pharmacist in Charge

   9    generally responsible for those conversations?

  10            A.        That's her job.

  11            Q.        And outside of your contact with TDOC,

  12    how often did you research the availability of

  13    particular drugs for customers?
  14            A.        It's not something I would normally do.

  15            Q.        Other than TDOC, have you done it for

  16    other customers?
  17            A.        Not typically, no.

  18            Q.        When you say "Not typically," was there a

  19    time where you did do it for customers other than TDOC?

  20            A.        I can't recall.

  21            Q.        You can't recall, or you don't believe

  22    you did?
  23                      MR. SUTHERLAND:        Form.

  24                      THE WITNESS:       I can't recall doing it for

  25            other customers.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 60 of 140 PageID #: 11297
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(559


   1    BY MS. NELSON MAJOR:
   2            Q.        During your tenure with the pharmacy, how

   3    often did you discuss with a customer whether a

   4    particular drug was commercially manufactured or

   5    available in a commercially manufactured form?

   6            A.        From time to time in my marketing duties.

   7            Q.        You testified that TDOC is the only

   8    customer that you ever discussed concentrations and

   9    volumes necessary to fill a prescription with.                 Why did

  10    you have that conversation with TDOC?

  11            A.        Can you repeat that, please?

  12            Q.        You said generally it was the Pharmacist

  13    in Charge's duty to discuss concentrations and volumes
  14    necessary to fill a prescription with a customer.                  Why

  15    did you have that conversation with TDOC?

  16            A.        I was their point of contact for the
  17    pharmacy.

  18            Q.        Can you pull up Exhibit 47, please.              It's

  19    an email chain from October 18th, 2017.               Did you write

  20    or receive any of these emails?

  21            A.        You said Exhibit 47?

  22            Q.        Yes.
  23                      (Witness reviews document.)

  24                      THE WITNESS:       Okay.

  25    BY MS. NELSON MAJOR:

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 61 of 140 PageID #: 11298
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(560


   1            Q.        Did you write or receive any of these
   2    emails?

   3            A.        Yes.

   4            Q.        Who were you corresponding with?

   5                      MR. SUTHERLAND:        Don't identify anybody

   6            by name.

   7                      THE WITNESS:       Drug Procurer.

   8    BY MS. NELSON MAJOR:

   9            Q.        At the bottom of the first page is an

  10    email sent at 8:33 a.m.          Did you write this email?

  11            A.        It's not familiar.

  12            Q.        Further up the email -- of this email

  13    chain there's an email sent at 10:47 a.m., and there's
  14    a list of drugs and quantities.            Do you see that email?

  15            A.        I do.

  16            Q.        Did you write that email?
  17            A.        Yes.

  18            Q.        You wrote:      "A list of what has been

  19    received from our suppliers."            And you write:

  20    "Midazolam, 1,000 milligrams.            Vecuronium, 200

  21    milligrams.      Potassium chloride, 2,000

  22    milliequivalents."
  23                      What was that list?

  24                      MR. SUTHERLAND:        Object to the form.

  25                      THE WITNESS:       It was a list of drugs

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 62 of 140 PageID #: 11299
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(561


   1            received by the pharmacy.
   2    BY MS. NELSON MAJOR:

   3            Q.        It was drugs received by the pharmacy on

   4    behalf of TDOC?

   5            A.        Yes.

   6            Q.        Were these quantities of commercially

   7    manufactured drugs?

   8            A.        Can you repeat that, please?

   9            Q.        Was this list of quantities for

  10    commercially manufactured versions of the drugs?

  11            A.        Yes.

  12            Q.        You then write:        "I'm working on revising

  13    the BAA and agreement."          What does "BAA" stand for?
  14            A.        The Business Associate Agreement.

  15            Q.        What is a Business Associate Agreement in

  16    this context?
  17            A.        An agreement between the company and TDOC

  18    for providing them with pharmaceuticals.

  19            Q.        What provisions does that agreement

  20    contain, more specifically?

  21            A.        I don't recall.        I know it had a HIPAA

  22    compliance.
  23            Q.        Outside of your work with TDOC, how often

  24    did you draft BAAs for customers?

  25            A.        I didn't draft it.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 63 of 140 PageID #: 11300
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(562


   1            Q.        You revised it?
   2            A.        I did not revise it.

   3            Q.        So when you wrote, "I'm working on

   4    revising the BAA and agreement," you meant something

   5    else other than revising the agreement there?

   6            A.        I meant that our legal counsel was

   7    revising.

   8            Q.        And what document were you referring to

   9    when you wrote "agreement?"

  10            A.        I don't recall.

  11            Q.        Can you please pull up Exhibit 3.             It's

  12    an email chain dated October 26th and 27th of 2017.

  13    Can you please turn to the second page when you have it
  14    up.

  15            A.        Okay.

  16            Q.        Did the Drug Procurer send this email to
  17    you?

  18            A.        Yes.

  19            Q.        The Drug Procurer wrote to you:

  20                      "In addition to what you are sending me

  21                      today, can you break down how they all need

  22                      to be stored and what we will need to do
  23                      when the time comes to prepare it for the

  24                      injections."

  25                      What was your understanding of what the

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 64 of 140 PageID #: 11301
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(563


   1    Drug Procurer was asking you to do?
   2                      MR. SUTHERLAND:        Sorry.     Ms. Nelson

   3            Major, can you reorient me to this?             Oh, never

   4            mind.    I've got it.

   5                      MS. NELSON MAJOR:        It's on the second

   6            page.

   7                      MR. SUTHERLAND:        Gotcha.

   8    BY MS. NELSON MAJOR:

   9            Q.        Pharmacy Owner, what was your

  10    understanding of what the Drug Procurer was asking you

  11    to do?

  12                      MR. SUTHERLAND:        Object to the form.

  13                      THE WITNESS:       To provide storage and
  14            handling instructions for the medication.

  15    BY MS. NELSON MAJOR:

  16            Q.        And if you could turn to the first page
  17    of Exhibit 3, there's an email at the bottom sent at

  18    3:30 p.m.       Was this your response to the Drug

  19    Procurer's request to break down how the drugs needed

  20    to be stored and prepared?

  21            A.        Yes.

  22            Q.        You wrote:      "I will have my pharmacist
  23    write up a protocol."

  24                      Did your pharmacist in fact write up a

  25    protocol in 2017?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 65 of 140 PageID #: 11302
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(564


   1            A.        Yes.
   2            Q.        And was that protocol, did it include

   3    instructions for preparing and storing all three drugs?

   4            A.        I can't remember.

   5            Q.        Did you review the protocol that the

   6    pharmacist wrote?

   7            A.        I read it over, yes.

   8            Q.        If you know; the pharmacist who wrote up

   9    that protocol, are they still employed by the pharmacy?

  10            A.        I do not know.

  11            Q.        And the next sentence states:            "All drugs

  12    are required to be stored in a secure location at room

  13    temperature between 15 and 30 degrees Celsius."
  14                      Is this referring to compounded or

  15    commercially manufactured drugs?

  16            A.        Commercially manufactured.
  17            Q.        And where did you get this temperature

  18    range?

  19            A.        Package insert.

  20            Q.        Package insert to what?

  21            A.        Package insert to the commercially

  22    manufactured drugs.
  23            Q.        Did all three drugs have the same

  24    temperature range in their package inserts?

  25            A.        I don't recall if it was that specific

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 66 of 140 PageID #: 11303
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(565


   1    range, but it was the -- I don't recall.               I'm sure it
   2    did.

   3            Q.        Did you personally look at the package

   4    inserts when writing this email?

   5            A.        Yes.

   6            Q.        Could you please turn to Exhibit 32.

   7    It's an email from November 14th, 2017.

   8                      Did the Drug Procurer write this email to

   9    you?

  10            A.        It doesn't look familiar, no.

  11            Q.        And if you'll please pull up Exhibit 73.

  12    It's an email chain dated November 28th, 2017.                 Did you

  13    write this email?
  14            A.        Yes.

  15            Q.        Did you write it to the Drug Procurer?

  16            A.        Yes.
  17            Q.        You wrote:      "Attached is the executed

  18    agreement and revisions to the protocol."               What is the

  19    protocol that you were referring to?

  20            A.        Protocol B in the Tennessee execution

  21    protocols.     I'm sorry, that wasn't theirs; it was our

  22    protocol for Tennessee's Protocol B.
  23            Q.        What do you mean when you said "it was

  24    our protocol?"

  25            A.        How to prepare and draw up the

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 67 of 140 PageID #: 11304
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(566


   1    medication.
   2            Q.        And then you further write:

   3                      "Only one change was noted.           Where the

   4                      potassium chloride was concerned, in order

   5                      to reach the required dose you need 120

   6                      milliliters.       Using 50-cc syringes would

   7                      only allow for 100 milliliters,

   8                      necessitating the need for a third syringe

   9                      with 20 milliliters.

  10                      "You can eliminate the third syringe by

  11                      using two 60-cc syringes in place of the 50

  12                      cc's."

  13                      Did you come up with this change on your
  14    own?

  15            A.        No.

  16            Q.        Who else did you consult when making
  17    these changes?

  18            A.        The Pharmacist in Charge.

  19                      MR. SUTHERLAND:        Without identifying any

  20            person by name.

  21    BY MS. NELSON MAJOR:

  22            Q.        I'm sorry.      Again, without identifying a
  23    person by name, who did you consult with?               I just

  24    didn't catch your answer.

  25            A.        The Pharmacist in Charge.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 68 of 140 PageID #: 11305
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(567


   1            Q.        Then you ended the email by saying:              "Do
   2    you all want us to provide you with the syringes and

   3    needles?"

   4                      Did the pharmacy in fact provide TDOC

   5    with syringes and needles?

   6            A.        I can't recall.

   7            Q.        You also wrote that:

   8                      "One thing to note is that each

   9                      10-milligram vecuronium vial will need to

  10                      be reconstituted with 10 milliliters of

  11                      bacteriostatic water before use, which we

  12                      will provide."

  13                      Why bacteriostatic water?
  14                      MR. SUTHERLAND:        Object to the form.

  15                      THE WITNESS:       It's what the manufacturer

  16            recommended.
  17    BY MS. NELSON MAJOR:

  18            Q.        And why did you tell TDO- -- TDOC to use

  19    10 milliliters of bacteriostatic water?

  20                      MR. SUTHERLAND:        Same objection.

  21                      THE WITNESS:       Manufacturer's

  22            recommendation.
  23    BY MS. NELSON MAJOR:

  24            Q.        Did you ever speak with anyone other than

  25    TD- -- oh, sorry, excuse me.           Anyone than the Drug

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 69 of 140 PageID #: 11306
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(568


   1    Procurer affiliated with TDOC about reconstituting the
   2    vecuronium bromide?

   3            A.        No.

   4            Q.        So you never spoke with anyone on the

   5    Execution Team about how to reconstitute vecuronium

   6    bromide?

   7            A.        I did not.

   8            Q.        Do you know whether the Pharmacist in

   9    Charge ever had a conversation with anyone on the

  10    Execution Team about reconstituting vecuronium bromide?

  11            A.        I do not.

  12            Q.        Please pull up Exhibit 34.           It's an email

  13    chain dated December 15th, 2017.
  14            A.        Okay.

  15            Q.        Did you write or receive any of these

  16    emails?
  17            A.        No.

  18            Q.        Do you recall ever having a conversation

  19    with the Drug Procurer about a court case?

  20                      MR. SUTHERLAND:        Object to the form.        You

  21            can answer.

  22                      THE WITNESS:       Yes.
  23    BY MS. NELSON MAJOR:

  24            Q.        What was the court case that you

  25    discussed?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 70 of 140 PageID #: 11307
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(569


   1            A.        I don't recall details.
   2            Q.        Do you recall generally what the case was

   3    about?

   4            A.        Lethal injection drugs.

   5            Q.        Do you recall whether it was about lethal

   6    injection drugs in Tennessee?

   7            A.        I don't recall.

   8            Q.        If you could turn to Exhibit 46.

   9                      One last question about the court case.

  10    When you and the Drug Procurer discussed the court case,

  11    did the Drug Procurer explain to you why the -- why --

  12    why they were raising the court case with you?

  13            A.        No.
  14            Q.        So turning to Exhibit 46.

  15            A.        Okay.

  16            Q.        Have you seen this document before?
  17            A.        Looks familiar, yes.

  18            Q.        What is it?

  19            A.        It's our pharmacy agreement with the

  20    Tennessee Department of Correction.

  21            Q.        If you turn to the last page of the

  22    document, there's a redacted signature block.                 Is your
  23    signature in that redacted block?

  24            A.        I don't know.

  25            Q.        You don't recall whether or not you

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 71 of 140 PageID #: 11308
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(570


   1    signed this contract on behalf of the pharmacy?
   2            A.        Yes, I did sign a contract on behalf of

   3    the pharmacy.

   4            Q.        Did you draft this document?

   5            A.        No, I did not.

   6            Q.        Did you make any edits to this document?

   7            A.        No.

   8            Q.        Did TDOC agree to pay your pharmacy an

   9    annual fee?

  10            A.        They did.

  11            Q.        How much was that annual fee?

  12            A.        I think 5,000.       I'll have to refer you to

  13    the contract.
  14            Q.        Was that in addition to payment for

  15    whatever drugs the pharmacy supplied TDOC with?

  16            A.        Yes.
  17            Q.        And what was your understanding of what

  18    that annual fee was for?

  19            A.        Providing lethal injection chemicals to

  20    the Department of Tennessee -- or Department of

  21    Correction of Tennessee.

  22            Q.        On the first page of the agreement do you
  23    see Paragraph 1.1, and it's titled "Controlled

  24    Substance?"

  25            A.        Yes.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 72 of 140 PageID #: 11309
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(571


   1            Q.        And it states:
   2                      "Upon a written request which may be sent

   3                      electronically, by facsimile or electronic

   4                      mail by the Department, Pharmacy shall

   5                      provide the Department with requested

   6                      controlled substances."

   7                      Why did the agreement require a written

   8    request?

   9                      MR. SUTHERLAND:        Object to the form.        You

  10            can answer.

  11                      THE WITNESS:       All controlled substance

  12            prescriptions require written requests, according

  13            to state boards of pharmacy.
  14    BY MS. NELSON MAJOR:

  15            Q.        Are the three drugs -- midazolam,

  16    potassium chloride, and vecuronium bromide -- all
  17    controlled drugs?

  18            A.        No.

  19            Q.        Which ones aren't?

  20            A.        Vecuronium and potassium.

  21            Q.        And how do you know that?

  22            A.        They're not on the list of controlled
  23    substances.

  24            Q.        If you turn to the next page, do you see

  25    Paragraph 1.3, titled "Limitation on Services?"

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 73 of 140 PageID #: 11310
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(572


   1            A.        Yes.
   2            Q.        And it states:

   3                      "Pharmacy shall only provide controlled

   4                      substances and compounding preparations

   5                      that it can prepare to ensure compliance

   6                      with pharmaceutical standards for identity,

   7                      strength, quality, and purity of the

   8                      compounded drug that are consistent with

   9                      the United States Pharmacopoeia guidelines

  10                      and accreditation departments."

  11                      What are the accreditation departments

  12    referred to in this paragraph?

  13            A.        The boards of pharmacy.
  14            Q.        And what are the United States

  15    Pharmacopoeia guidelines?

  16            A.        A set of universally accepted guidelines
  17    for the preparations and -- well, it's more than just

  18    preparations of sterile and nonsterile compounding and

  19    pharmacy operations.

  20            Q.        Are you aware of whether TDOC had

  21    contracts with any other pharmacies to locate drugs for

  22    use in executions?
  23            A.        I am not aware.

  24            Q.        Are you aware of whether TDOC had

  25    contracts with any other pharmacies to compound drugs

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 74 of 140 PageID #: 11311
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(573


   1    for use in executions?
   2            A.        I am not.

   3            Q.        Did the pharmacy at some point obtain a

   4    pharmacy license from the State of Tennessee?

   5            A.        Yes, we did.

   6            Q.        When?

   7                      MR. SUTHERLAND:        I'm going to object to

   8            the question and instruct the Pharmacy Owner not

   9            to answer, based on the protective order.

  10    BY MS. NELSON MAJOR:

  11            Q.        Did you obtain that pharmacy license to

  12    provide TDOC with drugs for use in lethal injection

  13    executions?
  14            A.        Yes.

  15            Q.        During your tenure with the pharmacy, how

  16    many different pharmacists were responsible for filling
  17    TDOC's orders for lethal injection drugs?

  18                      THE WITNESS:       Please repeat that.

  19    BY MS. NELSON MAJOR:

  20            Q.        During your time with the pharmacy, how

  21    many different pharmacists were responsible for filling

  22    TDOC's orders for lethal injection drugs?
  23            A.        One.

  24            Q.        So during your tenure, there was a single

  25    pharmacist who was involved in filling TDOC's order for

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 75 of 140 PageID #: 11312
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(574


   1    lethal injection drugs?
   2                      MR. SUTHERLAND:        Object to the form.        You

   3            can answer.

   4                      THE WITNESS:       That I remember, yes.

   5    BY MS. NELSON MAJOR:

   6            Q.        Please turn to Exhibit No. 1.            It's a

   7    long document.       Do you want to take a minute and look

   8    through it?

   9            A.        Yes, please.

  10                      (Witness reviews document.)

  11                      THE WITNESS:       Okay.

  12    BY MS. NELSON MAJOR:

  13            Q.        Have you seen this document before?
  14            A.        Parts of it.

  15            Q.        And what is this document?

  16            A.        It's the lethal injection protocol for
  17    the Department of Correction of Tennessee.

  18            Q.        When was the first time you saw this

  19    document?

  20            A.        I don't recall the date.

  21            Q.        Do you recall the year?

  22            A.        2018, 2017.
  23            Q.        Do you know how long the current protocol

  24    has been in place?

  25            A.        I do not.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 76 of 140 PageID #: 11313
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(575


   1            Q.        Were you involved in the creation of this
   2    protocol?

   3            A.        No.

   4            Q.        So you didn't provide any information

   5    related to the drugs to be used?

   6            A.        I did not.

   7            Q.        You didn't provide any information to

   8    TDOC about potential doses to be used?

   9            A.        I did not.

  10            Q.        Did you provide any input on the portions

  11    of the protocol that discuss storing drugs?

  12            A.        No.

  13            Q.        What about preparing the syringes?
  14            A.        I did not, no.

  15            Q.        Did you review any drafts of this

  16    protocol?
  17            A.        No.

  18            Q.        Did you provide any edits to this

  19    protocol?

  20            A.        No.

  21            Q.        Do you know if anyone else at your

  22    pharmacy was involved in the creation of the protocol?
  23            A.        Not that I'm aware of.

  24            Q.        Who provided the protocol to you?

  25                      MR. SUTHERLAND:        Don't identify anybody

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 77 of 140 PageID #: 11314
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(576


   1            by name.
   2                      THE WITNESS:       The Drug Procurer.

   3    BY MS. NELSON MAJOR:

   4            Q.        And did the Drug Procurer ask you to

   5    review the protocol?

   6            A.        He asked the pharmacy to review the

   7    protocol, yes.

   8            Q.        And did you provide the protocol to the

   9    pharmacist to review?

  10            A.        Yes.

  11            Q.        And did the pharmacist make any changes

  12    to the protocol?

  13                      MR. SUTHERLAND:        Object to the form.        You
  14            can answer.

  15                      THE WITNESS:       I can't recall.

  16    BY MS. NELSON MAJOR:
  17            Q.        Did you discuss with the pharmacist their

  18    review of the protocol?

  19            A.        I don't recall.

  20            Q.        Did the Drug Procurer describe to you in

  21    any way the process that TDOC used for creating this

  22    protocol?
  23            A.        No.

  24            Q.        Do you know whether TDOC consulted any

  25    professionals when creating this protocol?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 78 of 140 PageID #: 11315
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(577


   1                      MR. SUTHERLAND:        Object to the form.        You
   2            can answer.

   3                      THE WITNESS:       I do not know.

   4    BY MS. NELSON MAJOR:

   5            Q.        Do you know what, if any, research was

   6    relied upon by TDOC when creating this protocol?

   7                      MR. SUTHERLAND:        Same objection.

   8                      THE WITNESS:       I don't know.

   9    BY MS. NELSON MAJOR:

  10            Q.        Can you turn to Page 34.

  11            A.        Okay.

  12            Q.        And the title is "Chemicals Used in

  13    Lethal Injection."        Have you seen this page before?
  14            A.        I have not.

  15            Q.        This page lists the three drugs to be

  16    used in the protocol, the first being midazolam.                  What
  17    is your understanding of the purpose of using midazolam

  18    in the protocol?

  19                      MR. SUTHERLAND:        Object to the form.

  20                      THE WITNESS:       I don't know.

  21    BY MS. NELSON MAJOR:

  22            Q.        What kind of drug is midazolam?
  23                      MR. SUTHERLAND:        Object to the form.

  24                      THE WITNESS:       It's a benzodiazepine.

  25    BY MS. NELSON MAJOR:

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 79 of 140 PageID #: 11316
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(578


   1            Q.        Can you repeat the answer for the court
   2    reporter, please?

   3            A.        A benzodiazepine.

   4            Q.        What is your understanding of the

   5    ordinary uses of midazolam?

   6            A.        I'm not sure.

   7            Q.        Do you know whether midazolam is

   8    typically used as an anesthetic?

   9                      MR. SUTHERLAND:        Object to the form.        You

  10            can answer.

  11                      THE WITNESS:       An anesthetic alone, no.

  12    BY MS. NELSON MAJOR:

  13            Q.        Is midazolam FDA approved by itself to
  14    produce and maintain anesthesia during a painful

  15    surgical procedure?

  16                      MR. SUTHERLAND:        Object to the form.
  17                      THE WITNESS:       I don't know.

  18    BY MS. NELSON MAJOR:

  19            Q.        Does midazolam have an analgesic effect?

  20                      MR. SUTHERLAND:        Object to the form.

  21                      THE WITNESS:       I don't know.

  22    BY MS. NELSON MAJOR:
  23            Q.        Does midazolam have a ceiling effect?

  24                      MR. SUTHERLAND:        Same objection.

  25                      THE WITNESS:       I don't know.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 80 of 140 PageID #: 11317
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(579


   1    BY MS. NELSON MAJOR:
   2            Q.        Do you know what the term "ceiling

   3    effect" means?

   4                      MR. SUTHERLAND:        Same objection.

   5                      THE WITNESS:       No.

   6    BY MS. NELSON MAJOR:

   7            Q.        Can midazolam result in a paradoxical

   8    reaction?

   9                      MR. SUTHERLAND:        Same objection.

  10                      THE WITNESS:       I don't know.

  11    BY MS. NELSON MAJOR:

  12            Q.        Is midazolam acidic or alkaline?

  13                      MR. SUTHERLAND:        Same objection.
  14                      THE WITNESS:       I don't know.

  15    BY MS. NELSON MAJOR:

  16            Q.        The second drug listed is vecuronium
  17    bromide.     What is your understanding of the purpose of

  18    using the vecuronium bromide in the protocol?

  19                      MR. SUTHERLAND:        Object to the form.

  20                      THE WITNESS:       I don't know.

  21    BY MS. NELSON MAJOR:

  22            Q.        What kind of drug is vecuronium bromide?
  23                      MR. SUTHERLAND:        Same objection -- or

  24            object to the form.

  25                      THE WITNESS:       Paralytic.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 81 of 140 PageID #: 11318
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(580


   1    BY MS. NELSON MAJOR:
   2            Q.        And is vecuronium bromide acidic or

   3    alkaline?

   4                      MR. SUTHERLAND:        Object to the form.

   5                      THE WITNESS:       I don't know.

   6    BY MS. NELSON MAJOR:

   7            Q.        And then the last drug is potassium

   8    chloride.     What is your understanding of the purpose of

   9    using potassium chloride in the protocol?

  10                      MR. SUTHERLAND:        Object to the form.

  11                      THE WITNESS:       I don't know.

  12    BY MS. NELSON MAJOR:

  13            Q.        What kind of drug is potassium chloride?
  14                      MR. SUTHERLAND:        Same objection.

  15                      THE WITNESS:       An electrolyte.

  16    BY MS. NELSON MAJOR:
  17            Q.        And is potassium chloride acidic or

  18    alkaline?

  19                      MR. SUTHERLAND:        Object to the form.

  20                      THE WITNESS:       I don't know.

  21    BY MS. NELSON MAJOR:

  22            Q.        The next section, pages 35 to 36, is
  23    titled "Compounded Preparations:             Procurement, Storage,

  24    Accountability, and Transfer of the Chemical."

  25                      Have you seen pages 35 and 36 before?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 82 of 140 PageID #: 11319
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(581


   1            A.        No.
   2            Q.        So it's fair to say that you didn't

   3    review or edit the section in any way?

   4            A.        Yes, that's fair.

   5            Q.        Do you know whether anyone at the

   6    pharmacy reviewed the section?

   7            A.        I do not.

   8            Q.        Will you please go to the next page, 37

   9    and 38.      This section is titled "Commercially

  10    Manufactured Drugs:        Procurement, Storage,

  11    Accountability, and Transfer of the Chemicals."

  12                      Have you seen this page before?

  13            A.        No.
  14            Q.        So it's fair to say that you didn't write

  15    or edit this section in any way?

  16            A.        I did not.
  17            Q.        Could you please turn to pages 39 and 40.

  18    This section is titled "Lethal Injection Chemical

  19    Set-Up and Preparation."

  20                      Have you seen pages 39 and 40 before?

  21            A.        I have not.

  22            Q.        So it's fair to say you haven't reviewed
  23    or edited this section in any way?

  24            A.        I have not.

  25            Q.        Do you know if anyone else at the

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 83 of 140 PageID #: 11320
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(582


   1    pharmacy reviewed this section?
   2            A.        I don't know.

   3            Q.        Would you please turn to pages 41 to 43.

   4    These two sections involve the setting up and insertion

   5    of the IV catheters.         Have you seen these pages before?

   6            A.        I have not.

   7            Q.        So it's fair to say you didn't write or

   8    review these sections in any way?

   9            A.        Yes.

  10            Q.        Do you know whether anyone else at the

  11    pharmacy reviewed these sections?

  12            A.        I do not.

  13            Q.        Have you been to the Riverbend Maximum
  14    Security Institution in Tennessee?

  15            A.        I have not.

  16            Q.        Have you ever attended an execution?
  17            A.        No.

  18            Q.        Have you ever provided training to anyone

  19    else in connection with executions?

  20            A.        No.

  21            Q.        Have you had contact with representatives

  22    from departments of correction outside of Tennessee?
  23            A.        No.

  24            Q.        If a drug is available both in a

  25    commercially manufactured form and a compounded

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 84 of 140 PageID #: 11321
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(583


   1    preparation, what would the pharmacy's first choice be
   2    to fill an order?

   3                      MR. SUTHERLAND:        Object to the form.

   4                      THE WITNESS:       Can you restate that?

   5    BY MS. NELSON MAJOR:

   6            Q.        Let me try rephrasing it.           Under what

   7    circumstances would a pharmacy compound a drug?

   8            A.        Physician request.

   9            Q.        You previously stated that at some point

  10    the pharmacy switched to providing TDOC with compounded

  11    midazolam.     Do you recall when that happened?

  12            A.        I do not.

  13            Q.        Do you recall why the pharmacy switched
  14    to compounding for midazolam?

  15            A.        No, I don't.

  16            Q.        Are you aware that a manufacturer
  17    demanded that TDOC return the commercially manufactured

  18    midazolam?

  19            A.        Yes.

  20            Q.        How are you aware of that?

  21            A.        Our vendor alerted us.

  22            Q.        When did that occur?
  23            A.        I can't recall.

  24            Q.        And how did the vendor alert you?

  25            A.        I can't recall.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 85 of 140 PageID #: 11322
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(584


   1            Q.        And what did the vendor instruct you to
   2    do?

   3            A.        Make an attempt to retrieve the

   4    midazolam.

   5            Q.        Did they tell you why?

   6            A.        They did.

   7            Q.        And what was that reason?

   8            A.        They did not want their drugs involved in

   9    lethal injection.

  10            Q.        Did you convey that information to the

  11    Drug Procurer?

  12            A.        Yes.

  13            Q.        Are you aware of whether TDOC returned
  14    the commercially manufactured midazolam?

  15            A.        Not aware.

  16            Q.        Did TDOC provide you with the
  17    commercially manufactured midazolam that they had in

  18    their possession?

  19                      MR. SUTHERLAND:        Object to the form.

  20                      THE WITNESS:       They did not.

  21    BY MS. NELSON MAJOR:

  22            Q.        Did the Drug Procurer discuss with you
  23    what they intended to do?

  24                      MR. SUTHERLAND:        Same objection.

  25                      THE WITNESS:       Not that I can recall.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 86 of 140 PageID #: 11323
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(585


   1    BY MS. NELSON MAJOR:
   2            Q.        After you were alerted to this request by

   3    the vendor, did you continue to provide TDOC with

   4    commercially manufactured midazolam?

   5            A.        No.

   6            Q.        When placing the order for the

   7    commercially manufactured midazolam from this

   8    manufacturer, had you informed them of the intended

   9    use?

  10            A.        No.

  11            Q.        Did the manufacturer tell you how they

  12    had learned that you had provided their drugs to TDOC

  13    for use in executions?
  14            A.        They did not.

  15            Q.        Did you and the Drug Procurer discuss how

  16    you would source midazolam after receiving this alert
  17    from the vendor?

  18            A.        I can't recall.

  19            Q.        What did you do after receiving this

  20    vendor to fill the orders for midazolam for TDOC?

  21            A.        Sorry, repeat that again?

  22            Q.        How did you fill TDOC's order for
  23    midazolam after you received this order?

  24            A.        I can't -- I can't recall.

  25            Q.        Did you switch to compounding midazolam?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 87 of 140 PageID #: 11324
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(586


   1            A.        At some point, yes.
   2            Q.        And when you switched to compounding

   3    midazolam, how did the pharmacy locate the API to

   4    compound the midazolam?

   5                      MR. SUTHERLAND:        Object to the form.

   6                      THE WITNESS:       I searched through our

   7            vendors.

   8    BY MS. NELSON MAJOR:

   9            Q.        At some point, did you also stop

  10    providing potassium to TDOC in its commercially

  11    manufactured form?

  12                      MR. SUTHERLAND:        Object to the form.

  13                      THE WITNESS:       Yes.
  14    BY MS. NELSON MAJOR:

  15            Q.        Do you recall when that happened?

  16            A.        I do not.
  17            Q.        Why did you switch to compounding the

  18    potassium chloride?

  19            A.        Drug availability.

  20            Q.        Had you received a similar notice from

  21    the manufacturer of the potassium chloride about using

  22    their commercially manufactured drugs for use in
  23    executions?

  24            A.        I can't recall.

  25            Q.        I want to ask you a couple of questions

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 88 of 140 PageID #: 11325
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(587


   1    about the storage and preparation of the drugs that the
   2    pharmacy provided to TDOC.

   3                      Do you know how the drugs are stored at

   4    TDOC once received?

   5            A.        I do not.

   6            Q.        Did anyone ever discuss with you the kind

   7    of freezer or refrigerator that TDOC uses to store the

   8    lethal injection chemicals?

   9            A.        No.

  10            Q.        Is a commercial mini-fridge an acceptable

  11    place to store compounded drugs?

  12                      MR. SUTHERLAND:        Object to the form.        You

  13            can answer.
  14                      THE WITNESS:       I don't know.

  15    BY MS. NELSON MAJOR:

  16            Q.        Have you ever discussed with anyone at
  17    TDOC the temperature at which the compounded drugs

  18    should be stored?

  19            A.        I did not.

  20            Q.        Do you know whether the Pharmacist ever

  21    discussed with anyone at TDOC the temperature at which

  22    the compounded drugs should be stored?
  23            A.        Yes.

  24            Q.        Do you know who the Pharmacist had that

  25    conversation with?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 89 of 140 PageID #: 11326
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(588


   1            A.        I do not.
   2            Q.        How are you aware of that conversation?

   3            A.        I can't recall.        I believe I spoke to the

   4    Pharmacist about it.

   5            Q.        During your tenure at the pharmacy, did

   6    the Pharmacist have conversations with the Drug

   7    Procurer outside of your presence?

   8            A.        Yes.

   9            Q.        How frequent were those conversations, if

  10    you're aware?

  11            A.        I don't know.

  12            Q.        Do you know whether the Pharmacist ever

  13    had conversations with anyone other than the Drug
  14    Procurer affiliated with TDOC?

  15            A.        I do not.

  16            Q.        If you could please pull up Exhibit 2.
  17    Okay.    Do you recognize this document?

  18            A.        Yes.

  19            Q.        What is it?

  20            A.        It's a drug preparation protocol.

  21            Q.        For which drug?

  22            A.        Midazolam.
  23            Q.        Did you write this document?

  24            A.        I did not.

  25            Q.        Do you know who wrote this document?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 90 of 140 PageID #: 11327
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(589


   1            A.        The Pharmacist in Charge.
   2            Q.        Do you recall when the Pharmacist in

   3    Charge wrote this document?

   4                      MR. SUTHERLAND:        Object to the form.

   5                      THE WITNESS:       No.

   6    BY MS. NELSON MAJOR:

   7            Q.        Can you restate your answer?

   8            A.        No.

   9            Q.        Did you review this document after it was

  10    drafted by the Pharmacist?

  11            A.        I did read it, yes.

  12            Q.        Did you make any edits?

  13            A.        No.
  14            Q.        Did you provide this document to TDOC?

  15            A.        Yes.

  16            Q.        Without naming names, who did you provide
  17    it to?

  18            A.        The Drug Procurer.

  19            Q.        Did you show this document to the Drug

  20    Procurer just the one time?

  21            A.        I don't recall.

  22            Q.        Do you know whether the pharmacy sent
  23    copies of this document with each shipment of the

  24    compounded midazolam?

  25            A.        I don't recall.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 91 of 140 PageID #: 11328
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(590


   1            Q.        Is this the only version of midazolam
   2    instructions that you provided to TDOC?

   3            A.        To my knowledge, yes.

   4            Q.        When you reviewed this document, what

   5    were you looking for?

   6                      MR. SUTHERLAND:        Object to the form.

   7                      THE WITNESS:       I was reading it for my own

   8            personal knowledge.

   9    BY MS. NELSON MAJOR:

  10            Q.        Besides the Drug Procurer, did you ever

  11    discuss how the midazolam should be prepared or stored

  12    with anyone else associated with TDOC?

  13                      MR. SUTHERLAND:        Object to the form.
  14                      THE WITNESS:       I did not.

  15    BY MS. NELSON MAJOR:

  16            Q.        At some point, did the pharmacy also
  17    prepare instructions for the preparation and storage of

  18    the potassium chloride?

  19            A.        I believe so, yes.

  20            Q.        How many different versions of those

  21    instructions were prepared for TDOC?

  22            A.        I don't know.
  23                      MS. NELSON MAJOR:        I'm wondering if now

  24            is not a bad time to stop for a break.              I don't

  25            want to get into another lengthy section, because

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 92 of 140 PageID #: 11329
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(591


   1            we've been going for an hour.               Is that okay?
   2                      MR. SUTHERLAND:        Are you talking about a

   3            lunch break or just a break-break?

   4                      MS. NELSON MAJOR:        Is it too early for

   5            you all?

   6                      MR. SUTHERLAND:        It's not too early for

   7            me.   It's whatever -- whatever --

   8                      MS. NELSON MAJOR:        I'm fine with that.

   9            We can do a lunch break now.

  10                      MR. SUTHERLAND:        Okay.       I know it's 12:20

  11            for some folks, so I'm happy to do that.

  12                      MS. NELSON MAJOR:        Okay.

  13                      THE VIDEOGRAPHER:        We are off the record
  14            at 12:18 p.m.

  15                      (Recess at 12:18 p.m. to 1:00 p.m.)

  16                      THE VIDEOGRAPHER:        We're back on the
  17            record.    The time is 1:00 p.m.

  18    BY MS. NELSON MAJOR:

  19            Q.        When we left off last, we were talking

  20    about the instructions for preparing and storing the

  21    potassium chloride.

  22            A.        Okay.
  23            Q.        And I had asked you to pull up, I

  24    believe, Exhibit 74.         Let me know when you have that

  25    up.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 93 of 140 PageID #: 11330
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(592


   1            A.        Okay.    I've got it pulled up.
   2            Q.        Do you recognize this document?

   3            A.        Yes, I've seen it.

   4            Q.        What is it?

   5            A.        Preparation instructions for potassium

   6    chloride.

   7            Q.        Who wrote this document, if you know?

   8                      MR. SUTHERLAND:        I'm sorry, Ms. Nelson

   9            Major, did you say 74 or 4?

  10                      MS. NELSON MAJOR:        74.

  11                      MR. SUTHERLAND:        Because I have potassium

  12            chloride preparation instructions as 4 in the

  13            binder.
  14                      MS. NELSON MAJOR:        This is a different

  15            version than Exhibit 4.

  16                      MR. SUTHERLAND:        Gotcha.
  17                      THE WITNESS:       As to who wrote the

  18            document?

  19    BY MS. NELSON MAJOR:

  20            Q.        Yes, who wrote --

  21                      THE WITNESS:       The Pharmacist in Charge.

  22    BY MS. NELSON MAJOR:
  23            Q.        I'm sorry, can you say that again?

  24            A.        The Pharmacist in Charge.

  25            Q.        How many pharmacists in charge did the

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 94 of 140 PageID #: 11331
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(593


   1    pharmacy employ at any given time?
   2            A.        There was only one Pharmacist in Charge.

   3            Q.        And were there pharmacists not in charge

   4    or below the Pharmacist in Charge?

   5            A.        There were on a PRN basis for pharmacy.

   6    But there was only one pharmacist at the pharmacy at a

   7    time -- at the time.

   8            Q.        And what do you mean by "PRN basis?"

   9            A.        We had contracted with other pharmacists

  10    who were not pharmacists in charge but who would come

  11    in and cover when our Pharmacist in Charge would want

  12    to take vacation or leave or something of that nature.

  13            Q.        Did those PRN pharmacists have any
  14    involvement in the work you were doing on behalf of

  15    TDOC?

  16            A.        No.
  17            Q.        Did you ask the Pharmacist in Charge to

  18    write this document?

  19            A.        Yes, I believe I did.

  20            Q.        Did you review this document after the

  21    Pharmacist in Charge wrote it?

  22            A.        I read it over, yes.
  23            Q.        Did you make any edits?

  24            A.        No.

  25            Q.        What is the concentration of potassium

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 95 of 140 PageID #: 11332
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(594


   1    chloride specified in this Exhibit 74?
   2            A.        It looks like 4 mEq's per ml.

   3            Q.        And what information did you give the

   4    Pharmacist in Charge when you told this person to draft

   5    this set of instructions?

   6            A.        I don't recall anything that I gave them

   7    specifically other than the protocol provided by

   8    Tennessee Department of Correction.

   9            Q.        Do you recall whether this version of

  10    instructions was drafted at a time when you were

  11    providing TDOC with commercially manufactured drugs?

  12            A.        I don't recall.

  13            Q.        Do you recall what year this set of
  14    instructions was written?

  15            A.        No.

  16            Q.        And can you please pull up Exhibit 75.
  17    Do you recognize this document, as well?

  18            A.        It looks like the previous document.

  19            Q.        On each document, there's a list of

  20    "Items You Will Need."         Do you see that at the top of

  21    both documents?

  22            A.        Yes.
  23            Q.        And both documents list a bag of saline;

  24    is that right?

  25            A.        Yes.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 96 of 140 PageID #: 11333
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(595


   1            Q.        Do the documents call for different-sized
   2    bags of saline?

   3            A.        Yes, they do.       Sorry, I had to verify.

   4            Q.        Do you know why the size of the bag of

   5    saline changed between these two documents?

   6            A.        I don't.

   7            Q.        Looking at Exhibit 74, can you take a

   8    look at steps 10 to 13?

   9            A.        Okay.

  10            Q.        Do these steps direct that the potassium

  11    chloride be diluted with saline?

  12                      MR. SUTHERLAND:        Object to the form.

  13    BY MS. NELSON MAJOR:
  14            Q.        You can answer, Pharmacy Owner.

  15            A.        Sorry, I'm reading the instructions.

  16            Q.        That's okay.       Take your time.
  17                      (Witness reviews document.)

  18                      THE WITNESS:       It does appear to instruct

  19            them to dilute the -- dilute the potassium

  20            chloride with saline.

  21    BY MS. NELSON MAJOR:

  22            Q.        And how many milliliters of saline do the
  23    instructions direct to be drawn up into the syringe?

  24            A.        30.

  25            Q.        And then how many milliliters of

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 97 of 140 PageID #: 11334
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(596


   1    potassium chloride are directed to be drawn up in the
   2    same syringe?

   3            A.        Same volume, 30 ml's.

   4            Q.        And turning back to Exhibit 75, could you

   5    please take a moment and read steps 12 to 17.                 They're

   6    long, so just let me know when you're done.

   7                      (Witness reviews document.)

   8                      MR. SUTHERLAND:        Which steps again,

   9            Ms. Nelson Major?

  10                      MS. NELSON MAJOR:        12 to 17.

  11                      (Pause.)

  12                      THE WITNESS:       Okay.

  13    BY MS. NELSON MAJOR:
  14            Q.        Does Exhibit 75 direct that the potassium

  15    chloride be diluted?

  16                      MR. SUTHERLAND:        Sorry, you froze on my
  17            end.   I did not hear the question.

  18                      MS. NELSON MAJOR:        Sorry about that.        Let

  19            me say it again.

  20    BY MS. NELSON MAJOR:

  21            Q.        The version of instructions on Exhibit

  22    75; does that direct that the potassium chloride be
  23    diluted, as well?

  24            A.        Yes, it does.

  25            Q.        Does Exhibit 75 have the same process for

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 98 of 140 PageID #: 11335
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(597


   1    diluting the potassium chloride that Exhibit 74 does?
   2            A.        It does not.

   3            Q.        How is it different?

   4            A.        Exhibit 74 has the dilution of potassium

   5    chloride in a syringe.         Exhibit 75 has the dilution of

   6    potassium chloride in the 100-ml bag of saline.

   7            Q.        Was this version of instructions also

   8    provided to TDOC at some point?

   9            A.        Yes.

  10            Q.        Why did the process for diluting the

  11    potassium chloride change?

  12                      MR. SUTHERLAND:        Object to the form.

  13                      THE WITNESS:       I don't know.
  14    BY MS. NELSON MAJOR:

  15            Q.        Did the pharmacy -- excuse me, the

  16    Pharmacist in Charge discuss with you this change?
  17            A.        Not that I recall.

  18            Q.        When you provided Exhibit 75 to TDOC, did

  19    you instruct them to no longer use the previous version

  20    of instructions that you had provided?

  21            A.        I don't recall.

  22            Q.        Did the pharmacy encounter some issue
  23    with diluting potassium chloride at some point?

  24            A.        I don't know.

  25            Q.        Do you know whether TDOC used either set

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 99 of 140 PageID #: 11336
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(598


   1    of instructions during an execution?
   2            A.         I do not.

   3            Q.         If you could please turn to Exhibit 4.

   4    Do you recognize this document?

   5            A.         Yes.

   6            Q.         What is it?

   7            A.         Potassium chloride preparation

   8    instructions.

   9            Q.         Do you know who wrote this document?

  10            A.         Pharmacist in Charge.

  11            Q.         Was it the same Pharmacist in Charge who

  12    wrote all three of these documents?

  13            A.         Yes, to my knowledge.
  14            Q.         Under "Items You Will Need," do you see

  15    where it lists "potassium chloride solution?"

  16            A.         Yes.
  17            Q.         And what's the concentration in

  18    Exhibit 4?

  19            A.         15 percent.

  20            Q.         And what -- how is the concentration

  21    expressed in milliequivalents per ml?

  22            A.         In mEq's per ml.
  23            Q.         And is that different than the other two

  24    versions of instructions that we just reviewed?

  25                       MR. SUTHERLAND:       Object to the form.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 100 of 140 PageID #: 11337
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(599


   1                       THE WITNESS:      The instructions are
   2            different, yes.

   3    BY MS. NELSON MAJOR:

   4            Q.         Is the concentration listed on the sets

   5    of instructions different?

   6                       MR. SUTHERLAND:       Object to the form.         You

   7            can answer.

   8                       THE WITNESS:      They are.

   9    BY MS. NELSON MAJOR:

  10            Q.         Why did the concentration change from 4

  11    mEq to 2 mEq?

  12                       MR. SUTHERLAND:       Object to the form.

  13                       THE WITNESS:      I don't recall.
  14    BY MS. NELSON MAJOR:

  15            Q.         On Exhibit 4, could you please take a

  16    look at Step 11.
  17                       (Witness reviews document.)

  18                       THE WITNESS:      Okay.

  19    BY MS. NELSON MAJOR:

  20            Q.         Does the instructions at Exhibit 4

  21    require the dilution of the potassium chloride?

  22            A.         No.
  23            Q.         Why not?

  24            A.         I don't know.

  25                       MR. SUTHERLAND:       Object to the form.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 101 of 140 PageID #: 11338
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               100


   1    BY MS. NELSON MAJOR:
   2            Q.         Did you send this version of instructions

   3    to TDOC?

   4                       MR. SUTHERLAND:        Object to the form.

   5                       THE WITNESS:       Yes.

   6    BY MS. NELSON MAJOR:

   7            Q.         Did you send it to the Drug Procurer?

   8            A.         I did.

   9            Q.         When you sent this version of

  10    instructions to TDOC, did you instruct them to stop

  11    using the other two versions of instructions?

  12                       MR. SUTHERLAND:        Object to the form.

  13                       THE WITNESS:       I don't recall the order in
  14            which they were sent.

  15    BY MS. NELSON MAJOR:

  16            Q.         When -- regardless of the order they were
  17    sent, at the time you sent the third version, the final

  18    version of the instructions, did you instruct TDOC to

  19    disregard the prior versions you had sent?

  20            A.         I don't recall.

  21            Q.         Do you know whether TDOC used the version

  22    of instructions at Exhibit 4 during execution?
  23            A.         I don't.     I don't know.

  24            Q.         Besides the Drug Procurer, did you ever

  25    discuss how the potassium chloride should be prepared

                                    *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 102 of 140 PageID #: 11339
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               101


   1    with anyone else associate -- associated with TDOC?
   2                       MR. SUTHERLAND:       Object to the form.

   3                       THE WITNESS:      I did not.

   4    BY MS. NELSON MAJOR:

   5            Q.         Could you repeat the answer, Pharmacy

   6    Owner?

   7            A.         I did not.

   8            Q.         Are you aware of whether the Pharmacist

   9    in Charge had conversations with anyone at TDOC about

  10    this preparation of the potassium chloride syringes?

  11            A.         I am not.

  12            Q.         During your tenure, did the vecuronium

  13    bromide that the pharmacy provided to TDOC for use in
  14    executions come in powder or liquid form?

  15            A.         I remember powder form.

  16            Q.         How is the powder vecuronium bromide
  17    prepared for syringes?

  18                       MR. SUTHERLAND:       Object to the form.

  19                       THE WITNESS:      I believe it was

  20            reconstituted with bacteriostatic water.

  21    BY MS. NELSON MAJOR:

  22            Q.         Have you ever reconstituted a drug?
  23            A.         No.

  24            Q.         At the pharmacy, who was responsible for

  25    reconstituting drugs when needed?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 103 of 140 PageID #: 11340
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               102


   1            A.         The Pharmacist or pharmacy tech, I'm not
   2    sure.

   3            Q.         Do you need medical training to

   4    reconstitute a drug from a powder form?

   5                       MR. SUTHERLAND:       Object to the form.

   6                       THE WITNESS:      I don't know.

   7    BY MS. NELSON MAJOR:

   8            Q.         Did you provide written instructions to

   9    TDOC regarding the storage and preparation of the

  10    vecuronium bromide?

  11            A.         I believe we did, yes.

  12            Q.         Similar to the potassium chloride

  13    instructions we just reviewed?
  14            A.         I remember just reviewing preparation

  15    instructions, not storage and handling of the potassium

  16    chloride.
  17            Q.         Did the Pharmacist in Charge also write

  18    the preparation instructions for vecuronium bromide?

  19            A.         No.

  20            Q.         Who wrote those instructions?

  21            A.         The manufacturer.

  22            Q.         Did you ever discuss how the vecuronium
  23    bromide should be prepared with anyone associated with

  24    TDOC?

  25            A.         No, I don't think so.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 104 of 140 PageID #: 11341
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               103


   1            Q.         Have you ever spoken to the physician who
   2    was involved in the carrying out of executions in

   3    Tennessee?

   4            A.         I did not.

   5            Q.         Have you ever spoken to the person

   6    referred to in the protocol as the Executioner?

   7            A.         No.

   8            Q.         Do you know whether the Pharmacist in

   9    Charge has spoken to either of these people?

  10            A.         I do not.

  11            Q.         After the syringes are prepared for use

  12    in an execution, is there a timeframe in which they

  13    must be administered?
  14                       MR. SUTHERLAND:        Object to form.

  15                       THE WITNESS:       I don't know.

  16    BY MS. NELSON MAJOR:
  17            Q.         And I'm going to ask you a couple of

  18    questions about how TDOC placed orders for the lethal

  19    injection drugs with the pharmacy.

  20                       Did TDOC place separate orders for the API

  21    that you purchased?

  22            A.         I can't recall.
  23            Q.         Did TDOC --

  24            A.         They --

  25            Q.         Sorry.

                                    *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 105 of 140 PageID #: 11342
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               104


   1            A.         TDOC didn't order APIs, only finished
   2    product.

   3            Q.         So TDOC did not place orders for bulk API

   4    with the pharmacy?

   5            A.         Not that I can recall, no.

   6            Q.         Did TDOC order more drugs than was

   7    required for use in a single execution at one time?

   8            A.         Yes.

   9            Q.         Was that true of both compounded and

  10    commercially manufactured drugs?

  11            A.         I can't recall.

  12            Q.         How were you notified that TDOC wished to

  13    place an order for lethal injection drugs?
  14            A.         Typically, I was contacted by the Drug

  15    Procurer.

  16            Q.         Did TDOC send a written prescription?
  17            A.         I don't know if they did.

  18            Q.         If they did, was it not sent to you?

  19            A.         It was sent to the pharmacy, which would

  20    have been received by the Pharmacist in Charge.

  21            Q.         Could you pull up page -- excuse me,

  22    Exhibit 76.      Do you recognize this document?
  23            A.         Yes.

  24            Q.         What is it?

  25            A.         It's a sample prescription.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 106 of 140 PageID #: 11343
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               105


   1            Q.         Did you write this?
   2            A.         I did not.

   3                       MR. SUTHERLAND:       Object to the form.

   4    BY MS. NELSON MAJOR:

   5            Q.         Do you know who wrote this?

   6                       MR. SUTHERLAND:       Don't identify anyone.

   7                       THE WITNESS:      I do not know who wrote

   8            that.

   9    BY MS. NELSON MAJOR:

  10            Q.         Was it the Pharmacist in Charge?

  11                       MR. SUTHERLAND:       Same -- object to the

  12            form, based on his prior answer.

  13                       THE WITNESS:      I don't know.
  14    BY MS. NELSON MAJOR:

  15            Q.         When placing orders with the pharmacy,

  16    did TDOC specify the vial size that they required?
  17            A.         They would be required to provide the

  18    strength and the dosage.

  19            Q.         By "strength," do you mean concentration?

  20            A.         Yes.

  21            Q.         Did the concentration of midazolam that

  22    the pharmacy sent to TDOC ever change during your
  23    tenure?

  24            A.         I don't know.

  25            Q.         Did the vial size of the midazolam that

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 107 of 140 PageID #: 11344
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               106


   1    the pharmacy sent to TDOC ever change during your
   2    tenure?

   3                       MR. SUTHERLAND:       Object to the form.

   4                       THE WITNESS:      I don't know.

   5    BY MS. NELSON MAJOR:

   6            Q.         Did the vial size of the potassium

   7    chloride ever change during your tenure with the

   8    pharmacy?

   9                       MR. SUTHERLAND:       Object to the form.

  10                       THE WITNESS:      I don't know.

  11    BY MS. NELSON MAJOR:

  12            Q.         What about the concentration of the

  13    potassium chloride?
  14                       MR. SUTHERLAND:       Object to the form.

  15                       THE WITNESS:      Possibly from the

  16            commercially available concentrations to
  17            compounded concentrations.

  18    BY MS. NELSON MAJOR:

  19            Q.         Did the Pharmacist in Charge ever discuss

  20    with you the potassium chloride falling out of

  21    solution?

  22            A.         I vaguely remember a conversation of the
  23    possibility of that, yes.

  24            Q.         What does it mean when a drug falls out

  25    of solution?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 108 of 140 PageID #: 11345
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               107


   1                       MR. SUTHERLAND:       Object to the form.
   2                       THE WITNESS:      My understanding is that it

   3            forms a precipitant in the solution.

   4    BY MS. NELSON MAJOR:

   5            Q.         The potassium chloride that was falling

   6    out of solution, do you know whether it was sent to

   7    TDOC?

   8                       MR. SUTHERLAND:       Object to the form.

   9                       THE WITNESS:      It was not, that I'm aware

  10            of.

  11    BY MS. NELSON MAJOR:

  12            Q.         Did you in any way participate in the

  13    actual filling of the TDOC's orders?
  14                       MR. SUTHERLAND:       Object to the form of

  15            the question.

  16                       THE WITNESS:      Yes.
  17    BY MS. NELSON MAJOR:

  18            Q.         What was your involvement in the filling

  19    of the orders?

  20            A.         I would supply the dry ice per the

  21    packaging and take it to FedEx for shipping.

  22            Q.         Were all three drugs shipped on dry ice?
  23            A.         No.

  24            Q.         Which drugs were shipped on dry ice?

  25            A.         Only compounded preparations.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 109 of 140 PageID #: 11346
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               108


   1            Q.         Did you pack the compounded preparations
   2    for shipment?

   3            A.         Yes.

   4            Q.         Was there any kind of temperature gauge

   5    inside of the boxes in which the compounded

   6    preparations were shipped?

   7            A.         Yes.

   8            Q.         What was the temperature gauge?

   9            A.         The temperature gauge was a maximum.              It

  10    would indicate if a certain temperature had been

  11    reached.

  12            Q.         How would it indicate that?

  13            A.         It would change colors.
  14            Q.         Did you ever let anyone at TDOC know

  15    about the temperature gauge?

  16            A.         I don't recall.
  17            Q.         Where did you obtain the dry ice?

  18                       MR. SUTHERLAND:       You can -- you can

  19            identify just generally a type of place you would

  20            have gotten it, but not by specifying a name or

  21            location.

  22                       THE WITNESS:      Dry ice supplier.
  23    BY MS. NELSON MAJOR:

  24            Q.         Outside of the shipments to TDOC, how

  25    often did you pack compounded preparations for

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 110 of 140 PageID #: 11347
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               109


   1    shipments to the pharmacy's customers?
   2            A.         Zero.

   3            Q.         Why did you do it for the TDOC orders?

   4            A.         To ensure that the process would be

   5    followed.

   6            Q.         Who at the pharmacy normally -- without

   7    naming names -- packs compounded preparations for

   8    shipments?

   9            A.         Either the Pharmacist or a pharmacy tech.

  10            Q.         Did you have concerns that the Pharmacist

  11    would not properly pack and ship TDOC's orders?

  12            A.         I did not.

  13            Q.         What about the pharmacy technicians?
  14            A.         I did not.

  15            Q.         During your time with the pharmacy, how

  16    often did you enter the areas in which the
  17    prescriptions were actually filled?

  18            A.         On a daily basis.

  19                       MR. SUTHERLAND:       Object to the form.

  20    BY MS. NELSON MAJOR:

  21            Q.         What about the areas in which the drugs

  22    are being compounded?
  23            A.         The drugs are being compounded in a clean

  24    room.    I did not access the clean room.

  25            Q.         Does the pharmacy test the drugs that it

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 111 of 140 PageID #: 11348
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               110


   1    compounded for TDOC?
   2            A.         Through a third party, yes.

   3            Q.         Was every batch that was compounded for

   4    TDOC subject to testing?

   5            A.         Yes.

   6            Q.         And was all that testing performed by

   7    that third party?

   8            A.         Yes, it was.

   9            Q.         Has that third party ever been issued a

  10    warning letter by the FDA?

  11                       MR. SUTHERLAND:       Object to the form.

  12                       THE WITNESS:      I'm not sure.

  13    BY MS. NELSON MAJOR:
  14            Q.         Are you aware of whether that third party

  15    has ever been issued a violation notice by a state

  16    board of pharmacy?
  17            A.         I am not.

  18            Q.         You said that you're not sure whether the

  19    third party has been issued a warning letter from the

  20    FDA.    Are you aware of a particular letter issued to

  21    the third-party testing company?

  22                       MR. SUTHERLAND:       Object to the form.
  23                       THE WITNESS:      No, I'm not.

  24    BY MS. NELSON MAJOR:

  25            Q.         Did the pharmacy ever decide not to ship

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 112 of 140 PageID #: 11349
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               111


   1    a compounded preparation to TDOC based on the results
   2    of those tests?

   3            A.         I can't recall.

   4            Q.         Do you know whether T- -- excuse me --

   5    the pharmacy ever recalled drugs that it might have

   6    shipped to TDOC for some reason?

   7            A.         Not that I can recall, no.

   8            Q.         Did you provide copies of the reports of

   9    the testing to TDOC?

  10            A.         Yes, I did.

  11            Q.         Did you personally send the reports to

  12    the Drug Procurer?

  13            A.         Yes, I did.
  14            Q.         Did you discuss the results with the Drug

  15    Procurer over the phone?

  16            A.         I can't recall discussing it.
  17            Q.         Outside of your involvement with TDOC,

  18    how often did you send testing results to the

  19    pharmacy's customers?

  20            A.         I didn't.

  21            Q.         Could you please pull up Exhibit 77.              Do

  22    you recognize this document?
  23            A.         I do.

  24            Q.         What is it?

  25            A.         It's a sterility report.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 113 of 140 PageID #: 11350
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               112


   1            Q.         And for which drug?
   2            A.         Midazolam.

   3            Q.         Is this a report that you received from

   4    the third-party testing company?

   5            A.         Yes.

   6            Q.         And what was the result of the potency

   7    test for this batch of midazolam?

   8            A.         92.4 percent.

   9            Q.         And what does that number mean?

  10                       MR. SUTHERLAND:       Object to the form?

  11                       MS. NELSON MAJOR:        You're on mute,

  12            Pharmacy Owner, if you're answering.

  13                       THE WITNESS:      Okay.    It means that the
  14            potency of the tested material is 92.4 percent of

  15            the potency sent, of the target potency.

  16    BY MS. NELSON MAJOR:
  17            Q.         What is the acceptable minimum potency

  18    required by the pharmacy?

  19                       MR. SUTHERLAND:       Object to the form.

  20                       THE WITNESS:      Whatever the USP 797

  21            guidelines suggest.

  22    BY MS. NELSON MAJOR:
  23            Q.         Did the pharmacy ever manufacture a

  24    compounded midazolam preparation that fell below that

  25    minimum potency standard for TDOC?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 114 of 140 PageID #: 11351
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               113


   1            A.         I can't recall.
   2            Q.         Did the pharmacy ship this particular

   3    batch of midazolam to TDOC?

   4                       MR. SUTHERLAND:       Ms. Nelson Major, after

   5            this answer, can we take a five-minute break?

   6                       MS. NELSON MAJOR:        Yes.

   7                       MR. SUTHERLAND:       Thank you.

   8                       THE WITNESS:      I don't recall.

   9                       THE VIDEOGRAPHER:        Okay.    We're going off

  10            the record at 1:33 p.m.

  11                       (Recess at 1:33 p.m. to 1:40 p.m.)

  12                       THE VIDEOGRAPHER:        We're on record at

  13            1:40 p.m.
  14    BY MS. NELSON MAJOR:

  15            Q.         Pharmacy Owner, if you could please pull

  16    up Exhibit 78.       Do you recognize this document?
  17            A.         It's still loading.

  18            Q.         I'm sorry.     Okay.

  19            A.         Yes, I do.

  20            Q.         What is this document?

  21            A.         Another lab report.

  22            Q.         Is this a report from the third-party
  23    testing company?

  24            A.         Yes, it is.

  25            Q.         And for which drug?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 115 of 140 PageID #: 11352
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               114


   1            A.         Midazolam.
   2            Q.         And what was the result of this potency

   3    test?

   4            A.         114 percent.

   5            Q.         Does the USP also set a maximum

   6    acceptable potency range?

   7            A.         They do.

   8                       MR. SUTHERLAND:       Form.

   9    BY MS. NELSON MAJOR:

  10            Q.         And what would the pharmacy do if the

  11    potency came back above that range?

  12                       MR. SUTHERLAND:       Object to the form.

  13                       THE WITNESS:      Typically, it would be
  14            discarded.

  15    BY MS. NELSON MAJOR:

  16            Q.         Did the pharmacy ship the batch of
  17    midazolam that is tested in the lab report at Exhibit

  18    78 to TDOC?

  19            A.         I'm not sure.

  20            Q.         Could you please pull up Exhibit 23.

  21    It's an email dated August 8th, 2019.

  22            A.         Okay.
  23            Q.         Did you send this email?

  24            A.         Yes.

  25            Q.         Did you send it to the Drug Procurer?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 116 of 140 PageID #: 11353
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               115


   1            A.         Yes, I did.
   2            Q.         You wrote:     "Here is the

   3    suitability-slash-methodology test for the KCl that was

   4    falling out of solution."

   5                       What is a suitability-slash-methodology

   6    test?

   7                       MR. SUTHERLAND:       Object to the form.

   8                       THE WITNESS:      Suitability methodology is

   9            a test performed on the method on how it's

  10            compounded in our pharmacy.

  11    BY MS. NELSON MAJOR:

  12            Q.         Is that a test that would have been run

  13    by a third-party testing company?
  14            A.         Yes.

  15            Q.         How was it determined that the potassium

  16    chloride was falling out of solution?
  17                       MR. SUTHERLAND:       Object to the form.

  18                       THE WITNESS:      I don't know.

  19    BY MS. NELSON MAJOR:

  20            Q.         Do you know whether TDOC discovered that

  21    the potassium chloride was falling out of solution?

  22            A.         I don't know.
  23            Q.         You described packing the compounded

  24    midazolam for shipment to TDOC on dry ice.                What

  25    temperature should the potassium -- excuse me, the

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 117 of 140 PageID #: 11354
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               116


   1    compounded midazolam be shipped at?
   2                       MR. SUTHERLAND:       Object to the form.

   3                       THE WITNESS:      I don't recall.

   4    BY MS. NELSON MAJOR:

   5            Q.         Without disclosing their name, who was

   6    responsible for receiving the drugs that you ship to

   7    TDOC?

   8                       MR. SUTHERLAND:       Object to the form.

   9                       THE WITNESS:      I don't recall.

  10    BY MS. NELSON MAJOR:

  11            Q.         Without disclosing names, who is

  12    responsible for preparing the drugs for use in

  13    executions?
  14                       MR. SUTHERLAND:       Object to the form.

  15                       THE WITNESS:      I don't know.

  16    BY MS. NELSON MAJOR:
  17            Q.         Are you aware of what kind of training

  18    that person has?

  19            A.         No.

  20            Q.         How soon after compounding drugs for TDOC

  21    did the pharmacy ship a batch to TDOC?

  22            A.         I don't recall, but it would have to be
  23    after the test results.

  24            Q.         Did you continue to search for

  25    pentobarbital after the Drug Procurer informed you in

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 118 of 140 PageID #: 11355
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               117


   1    2017 that TDOC had made the decision to use the
   2    three-drug midazolam protocol?

   3            A.         Yes.

   4            Q.         Why did you continue that search?

   5            A.         I was asked to do so by the Drug

   6    Procurer.

   7            Q.         When were you asked by the Drug Procurer

   8    to continue that search?

   9            A.         I don't recall.

  10            Q.         Did the Drug Procurer instruct you on a

  11    particular interval at which to search for

  12    pentobarbital?

  13            A.         He did not.
  14            Q.         Did the Drug Procurer ask you to locate

  15    commercially manufactured pentobarbital?

  16                       MR. SUTHERLAND:       Object to the form.
  17                       THE WITNESS:      Yes.

  18    BY MS. NELSON MAJOR:

  19            Q.         Did the Drug Procurer tell you how many

  20    grams to look for?

  21                       MR. SUTHERLAND:       Object to the form.

  22                       THE WITNESS:      No.
  23    BY MS. NELSON MAJOR:

  24            Q.         Did the Drug Procurer ask you to look for

  25    pentobarbital API?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 119 of 140 PageID #: 11356
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               118


   1            A.         Not that I can recall.
   2            Q.         Again, I want to be clear.           I'm asking

   3    about the time period after TDOC made the decision to

   4    go with the midazolam three-drug protocol in 2017.                   In

   5    that time period, what did you do to attempt to locate

   6    a source for commercially manufactured pentobarbital?

   7            A.         Continued searching various vendors for

   8    both API and commercially available pentobarbital.

   9            Q.         How long did you try to locate a source

  10    for commercially manufactured pentobarbital?

  11            A.         I don't recall.

  12                       MR. SUTHERLAND:       Object to form.

  13    BY MS. NELSON MAJOR:
  14            Q.         Was it a one-time thing?

  15            A.         It was not.

  16            Q.         Did you continue that search up until the
  17    time you left the pharmacy?

  18            A.         Yes.

  19            Q.         When you were contacting potential

  20    sources, did you specifically ask for commercially

  21    manufactured pentobarbital?

  22            A.         It depended on the source.
  23            Q.         As part of those efforts, did you

  24    research potential foreign sources of commercially

  25    manufactured pentobarbital?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 120 of 140 PageID #: 11357
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               119


   1            A.         Yes.
   2            Q.         And how did you do that search?

   3            A.         A drug supplier query.

   4            Q.         Is that the vendor portal you discussed

   5    earlier?

   6            A.         No.

   7            Q.         Is it a separate portal?

   8            A.         It's not a portal, it's just an Internet

   9    search for drug suppliers.

  10            Q.         How did you conduct that Internet search

  11    for drug suppliers?

  12            A.         Searched for "drug suppliers."

  13            Q.         Did you do a Google search?
  14            A.         Possibly Google or Internet Explorer,

  15    sure.

  16            Q.         Other than searching Internet Explorer or
  17    possibly Google, were there other sources you searched

  18    when looking for commercially manufactured sources of

  19    pentobarbital?

  20            A.         I don't recall.

  21            Q.         And after doing those Internet searches

  22    for potential foreign sources, what did you do?
  23                       MR. SUTHERLAND:       Object to the form.

  24                       THE WITNESS:      I would inquire about their

  25            chemicals.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 121 of 140 PageID #: 11358
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               120


   1    BY MS. NELSON MAJOR:
   2            Q.         Did you come across potential sources

   3    when doing those Internet searches for foreign sources?

   4            A.         Yes, there are foreign manufacturers of

   5    pentobarbital.

   6            Q.         How many foreign sources of pentobarbital

   7    did you contact on behalf of TDOC?

   8            A.         I don't recall.       Not many.

   9            Q.         When you contacted those potential

  10    foreign sources, did you ask about commercially

  11    manufactured pentobarbital?

  12            A.         It would have been both API and

  13    commercially available.
  14            Q.         Were any of those foreign sources that

  15    you spoke with in possession of pentobarbital?

  16            A.         Yes.
  17            Q.         Were any of those sources willing to

  18    import pentobarbital to the pharmacy?

  19                       MR. SUTHERLAND:       Objection to the form.

  20                       THE WITNESS:      The searches were before

  21            the DEA said we could not import, so we ceased our

  22            foreign searches.
  23    BY MS. NELSON MAJOR:

  24            Q.         So the sources that you contacted prior

  25    to the DEA meeting, did any of those sources have

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 122 of 140 PageID #: 11359
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               121


   1    pentobarbital available to them?
   2            A.         Yes, many of them -- many of them have

   3    pentobarbital.       They're manufacturers.

   4            Q.         And did they have commercially

   5    manufactured or API available?

   6            A.         Both.

   7            Q.         Did you discuss quantities with those

   8    sources?

   9            A.         Can't recall.

  10            Q.         Did you attempt to place an order with

  11    any of those sources for TDOC?

  12            A.         I did not.

  13            Q.         Were the sources located in Europe?
  14            A.         Yes.

  15            Q.         Were they all located in Europe?

  16            A.         No.
  17            Q.         Where were the other sources located that

  18    weren't located in Europe?

  19            A.         India.

  20            Q.         Did those sources indicate to you that

  21    they were able to provide you with pentobarbital?

  22            A.         They did not.
  23            Q.         Did you convey this information to the

  24    Drug Procurer?

  25            A.         I can't recall.

                                    *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 123 of 140 PageID #: 11360
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               122


   1            Q.         Did you ever ask these potential foreign
   2    sources if they were able to provide you with

   3    pentobarbital?

   4            A.         No.

   5            Q.         You earlier discussed your meeting with

   6    the DEA.     Did you go ahead and obtain a license to

   7    import drugs for the pharmacy?

   8            A.         Did not.

   9            Q.         Does the pharmacy ever import

  10    commercially manufactured drugs from overseas?

  11            A.         No.

  12            Q.         What about API?

  13            A.         No.
  14            Q.         When did you last try to locate

  15    commercially manufactured pentobarbital for TDOC?

  16            A.         I can't recall.
  17            Q.         Do you recall the year?

  18                       MR. SUTHERLAND:       Object to the form.

  19                       THE WITNESS:      I do not.

  20    BY MS. NELSON MAJOR:

  21            Q.         Do you recall when you last tried to

  22    locate pentobarbital API for TDOC?
  23            A.         I do not.

  24            Q.         Could you please pull up Exhibit 17.

  25    It's an email dated October 30th, 2019.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 124 of 140 PageID #: 11361
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               123


   1                       Did you send --
   2            A.         Okay.

   3            Q.         Excuse me.     Do you recognize this email

   4    chain?

   5            A.         Yes.

   6            Q.         There's an email at the bottom of the

   7    page, 9:23 a.m., "Subject, API."             And the body is "Is

   8    this at all a possibility?"

   9                       Is this an email that the Drug Procurer

  10    sent to you?

  11            A.         I guess.

  12            Q.         And it's largely redacted, but do you

  13    have a recollection of what the Drug Procurer was
  14    asking you about?

  15            A.         I do not.

  16            Q.         And at the top of the email chain there's
  17    an email sent at 11:07 a.m.           Did you write this email

  18    to the Drug Procurer?

  19            A.         Yes.

  20            Q.         You wrote:

  21                       "It's possible we could order it, but

  22                       getting it imported would be an issue.
  23                       It's a Schedule II drug, and the DEA has

  24                       already advised us that they do not allow

  25                       importation of drugs that are readily

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 125 of 140 PageID #: 11362
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               124


   1                       available in the U.S.            There may be a
   2                       loophole in there, given that the product

   3                       is technically not readily available."

   4                       What drug are you referring to in this

   5    email?

   6            A.         I don't remember.

   7            Q.         Can you pull up Exhibit 19.           It's a

   8    document dated May 3rd, 2019, titled "Whether the Food

   9    and Drug Administration has Jurisdiction over Articles

  10    Intended for Use in Lawful Executions."

  11                       Have you seen this document before?

  12            A.         I can't recall.

  13            Q.         Are you aware that the U.S. Attorney
  14    General has instructed the DE- -- excuse me, instructed

  15    the FDA not to exercise jurisdiction over the

  16    importation of lethal injection drugs?
  17            A.         I'm not aware, no.

  18            Q.         If you had known that, would you have

  19    changed your search for pentobarbital on behalf of

  20    TDOC?

  21                       MR. SUTHERLAND:       Objection to the form.

  22                       THE WITNESS:      I can't say.
  23    BY MS. NELSON MAJOR:

  24            Q.         After the meeting with the DEA, did you

  25    and the Drug Procurer have any further conversations

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 126 of 140 PageID #: 11363
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               125


   1    about the possibility of importing pentobarbital from
   2    an overseas source?

   3            A.         I can't recall.

   4            Q.         And can you please pull up Exhibit 18.

   5    It's an email dated June 20th, 2018.                Did you write or

   6    receive this email?

   7            A.         Received it, I believe.

   8            Q.         And who sent this email to you, if you

   9    recall?

  10            A.         I don't recall.

  11            Q.         During your tenure with the pharmacy, did

  12    the pharmacy ever compound pentobarbital for customers

  13    other than TDOC?
  14                       MR. SUTHERLAND:       I'm going to object to

  15            the form of that question.

  16                       THE WITNESS:      The pharmacy never
  17            compounded pentobarbital.

  18    BY MS. NELSON MAJOR:

  19            Q.         Could the pharmacy have compounded

  20    pentobarb- -- excuse me, pentobarbital if provided with

  21    the API?

  22            A.         I don't know.
  23            Q.         Did you ever have a conversation with the

  24    Pharmacist in Charge about whether they would be able

  25    to compound pentobarbital if you had the API?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 127 of 140 PageID #: 11364
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               126


   1            A.         I'm sure I did.
   2            Q.         And do you recall whether the Pharmacist

   3    in Charge indicated that that's something they could in

   4    fact do?

   5                       MR. SUTHERLAND:       Objection to the form.

   6                       THE WITNESS:      I don't know.       I mean, I

   7            don't recall.

   8    BY MS. NELSON MAJOR:

   9            Q.         Could you please take a look at Exhibit

  10    15.    It's an email dated April 4th, 2017.

  11                       Did you write or receive any of these

  12    emails?

  13            A.         They don't look familiar.
  14            Q.         During your time with the pharmacy, did

  15    the pharmacy manufacture API for drugs other than

  16    pentobarbital?
  17                       MR. SUTHERLAND:       Objection to the form.

  18                       THE WITNESS:      I'm sorry, ask that again.

  19    BY MS. NELSON MAJOR:

  20            Q.         During your time at the pharmacy, did the

  21    pharmacy ever manufacture API for drugs other than

  22    pentobarbital?
  23            A.         We did not manufacture APIs.

  24            Q.         Did you and the Drug Procurer discuss the

  25    pharmacy continuing to search for pentobarbital after

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 128 of 140 PageID #: 11365
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               127


   1    your departure?
   2                       MR. SUTHERLAND:       Object to the form.

   3                       THE WITNESS:      Not specifically.

   4    BY MS. NELSON MAJOR:

   5            Q.         Did you have a general conversation?

   6            A.         A general conversation in continuing my

   7    efforts to help them source drugs for lethal injection,

   8    yes.

   9            Q.         The Drug Procurer and you discussed you

  10    continuing those efforts once you were no longer

  11    affiliated with the pharmacy?

  12            A.         Correct.

  13            Q.         Was that discussion limited to you
  14    continuing to attempt to source pentobarbital?

  15                       MR. SUTHERLAND:       Object to the form.

  16                       THE WITNESS:      Among the other ones, as
  17            well.

  18    BY MS. NELSON MAJOR:

  19            Q.         And what do you mean by "the other ones?"

  20            A.         The other drugs:       midazolam, vecuronium,

  21    potassium chloride.

  22            Q.         And you indicated you at least on one
  23    occasion continued to search for vecuronium after your

  24    departure.      Have you in fact searched for pentobarbital

  25    on behalf of TDOC following your departure from the

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 129 of 140 PageID #: 11366
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               128


   1    pharmacy?
   2            A.         I have not, no.

   3            Q.         Did you and the Drug Procurer discuss the

   4    pharmacy continuing to search for pentobarbital when

   5    you were no longer involved with the pharmacy?

   6            A.         We did not.

   7            Q.         Did you discuss with anyone else at the

   8    pharmacy continuing the search for pentobarbital once

   9    you left?

  10            A.         I did not.

  11            Q.         Would you please turn to Exhibit 35.

  12    It's an email dated June 26th, 2019.                Do you recognize

  13    this email?
  14            A.         I don't recognize it, no.

  15            Q.         Do you recall discussing with the Drug

  16    Procurer a possible alternative drug called digoxin?
  17            A.         I don't recall.

  18            Q.         Do you recall ever discussing with the

  19    Drug Procurer a drug called morphine sulfate?

  20            A.         I don't recall.

  21            Q.         Do you recall ever discussing a drug

  22    called propanolol?
  23            A.         I can't recall.

  24            Q.         Did you ever look into the possible

  25    availability of digoxin for use by TDOC in lethal

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 130 of 140 PageID #: 11367
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               129


   1    injections?
   2            A.         Not that I can recall.

   3            Q.         Do you have any reason to believe that

   4    the pharmacy would be unable to obtain digoxin for use

   5    in lethal injection procedures?

   6                       MR. SUTHERLAND:       Objection.

   7                       THE WITNESS:      I don't know.

   8    BY MS. NELSON MAJOR:

   9            Q.         Can you state your answer again?

  10            A.         I don't know.

  11            Q.         What about morphine sulfate?

  12                       MR. SUTHERLAND:       Same objection.

  13                       THE WITNESS:      I don't know.
  14    BY MS. NELSON MAJOR:

  15            Q.         And what about propanolol?

  16                       MR. SUTHERLAND:       Same objection.
  17                       THE WITNESS:      Same answer.

  18    BY MS. NELSON MAJOR:

  19            Q.         Were you ever asked to look into the

  20    availability of secobarbital?

  21            A.         Not that I can recall.

  22            Q.         Do you have any reason to believe that
  23    the pharmacy would be unable to source secobarbital for

  24    use in executions?

  25                       MR. SUTHERLAND:       Object to the form.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 131 of 140 PageID #: 11368
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               130


   1                       THE WITNESS:      I don't know.
   2    BY MS. NELSON MAJOR:

   3            Q.         Were you ever asked to look into the

   4    availability of any other drugs that I haven't named

   5    for use in executions by TDOC?

   6            A.         Not that I can recall.

   7            Q.         In the course of its normal business, did

   8    the pharmacy prepare drugs for oral administration?

   9            A.         Yes.

  10            Q.         During your tenure, was the pharmacy ever

  11    issued a Form FDA 483?

  12            A.         No.

  13                       MR. SUTHERLAND:       Object to the form.
  14    BY MS. NELSON MAJOR:

  15            Q.         During your tenure, was the pharmacy ever

  16    investigated for failing to comply with any local,
  17    state, or federal regulations or law?

  18            A.         No.

  19            Q.         During your tenure, was the pharmacy ever

  20    directed to recall drugs that it had sold to a

  21    customer?

  22            A.         Not that I'm aware of.
  23            Q.         During your tenure, did the State Board

  24    of Pharmacy ever open an enforcement or disciplinary

  25    action against the pharmacy?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 132 of 140 PageID #: 11369
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               131


   1            A.         Yes.
   2            Q.         What was the nature of that action?

   3                       MR. SUTHERLAND:       Object and order the

   4            Pharmacy Owner not to answer the question based on

   5            the protective order, unless it had something to

   6            do with the services that it was providing to

   7            TDOC.

   8                       THE WITNESS:      It was not involving

   9            anything associated with TDOC.

  10                       MS. NELSON MAJOR:        Mr. Sutherland, could

  11            you explain to me a bit more about how the

  12            connection to the provision of drugs to TDOC could

  13            potentially implicate the protective order if the
  14            issue at hand has nothing to do with the provision

  15            of drugs to TDOC?

  16                       MR. SUTHERLAND:       My screen was frozen.         I
  17            didn't get that.

  18                       MS. NELSON MAJOR:        I'm asking you to

  19            explain the basis of your objection.              I'm not

  20            quite grasping how that implicates the protective

  21            order.

  22                       MR. SUTHERLAND:       The basis would be, if
  23            he tells you nature of it, a search of -- I guess

  24            what I would say is, you could ask him if it

  25            resulted in any form -- formal action.               And if it

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 133 of 140 PageID #: 11370
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               132


   1            did result in formal action, then we can revisit
   2            it.    Because I don't want to get into anything

   3            where somebody could search for an investigation

   4            that resulted in formal action that would identify

   5            the pharmacy.

   6                       MS. NELSON MAJOR:        Okay.

   7    BY MS. NELSON MAJOR:

   8            Q.         Was a disciplinary action brought against

   9    a staff member at the pharmacy?

  10            A.         No.

  11            Q.         Was it brought against the pharmacy

  12    itself?

  13            A.         The pharmacy itself.
  14            Q.         Could you please pull up Exhibit 79.

  15            A.         Okay.

  16            Q.         Do you recognize this document?
  17            A.         Yes, I do.

  18            Q.         What is it?

  19            A.         Disciplinary action by the pharmacy.

  20            Q.         Is this the disciplinary action that you

  21    were just referring to?

  22            A.         Yes.
  23            Q.         Besides the disciplinary action

  24    referenced in Exhibit 79, are you aware of other

  25    disciplinary actions brought against the pharmacy or

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 134 of 140 PageID #: 11371
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               133


   1    its personnel?
   2            A.         Against the pharmacy, no; against

   3    personnel, yes.

   4            Q.         What is Exhibit 79?

   5            A.         A board order.

   6            Q.         What is a board order?

   7            A.         Detailing -- detailing the reason for the

   8    reprimand.

   9            Q.         And what was the reason for the

  10    reprimand?

  11            A.         Failure to disclose a misdemeanor on the

  12    initial application for the pharmacy license.

  13            Q.         Does the pharmacy application require
  14    disclosure of certain individuals' criminal history?

  15            A.         It does.

  16            Q.         And whose criminal history was not
  17    disclosed -- without naming names -- on that license

  18    application?

  19            A.         A minority partner.

  20            Q.         Who filled out the application, without

  21    naming names?

  22            A.         The Pharmacy Owner.
  23            Q.         Was that Pharmacy Owner you that filled

  24    out the application?

  25            A.         Yes.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 135 of 140 PageID #: 11372
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               134


   1            Q.         Was it your criminal conviction that was
   2    not disclosed in the application?

   3                       MR. SUTHERLAND:       Objection.      Object to

   4            the form, based on his prior answer.

   5                       THE WITNESS:      It was not myself.

   6    BY MS. NELSON MAJOR:

   7            Q.         It was a different Pharmacy Owner's

   8    conviction?

   9            A.         Yes.

  10            Q.         And what was the outcome of this

  11    disciplinary action?

  12            A.         We were fined $1,500.

  13            Q.         You also mentioned that an employee of
  14    the pharmacy was subject to disciplinary action.

  15    Without naming names, what role did that person occupy

  16    at the pharmacy?
  17            A.         Pharmacist.

  18            Q.         How many disciplinary actions are you

  19    aware of?

  20            A.         Just one.

  21            Q.         And what was the general nature of that

  22    disciplinary action?
  23            A.         I can't recall.

  24            Q.         Were you aware of that disciplinary

  25    action at the time you hired the Pharmacist in Charge?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 136 of 140 PageID #: 11373
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               135


   1            A.         Yes.
   2            Q.         Was that disciplinary action connected to

   3    an event that happened prior to the Pharmacist in

   4    Charge's employment with your pharmacy?

   5            A.         Yes.

   6            Q.         What was the outcome of that disciplinary

   7    action brought against the Pharmacist in Charge?

   8            A.         I don't recall.

   9                       MS. NELSON MAJOR:        Can we take a

  10            ten-minute break at this point?

  11                       MR. SUTHERLAND:       Certainly.

  12                       MS. NELSON MAJOR:        Thank you.      Come back

  13            at 25 after?
  14                       MR. SUTHERLAND:       Sounds good.

  15                       THE VIDEOGRAPHER:        We're off the record

  16            at 2:13 p.m.
  17                       (Recess at 2:13 p.m. to 2:23 p.m.)

  18                       THE VIDEOGRAPHER:        We're on record.       The

  19            time is 2:21 p.m.

  20    BY MS. NELSON MAJOR:

  21            Q.         Pharmacy Owner, when was the last time

  22    you talked to a supplier in Europe about pentobarbital?
  23            A.         I don't know.

  24            Q.         Was that conversation before or after the

  25    DEA meeting?

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 137 of 140 PageID #: 11374
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               136


   1            A.         Before.
   2            Q.         So you haven't had any conversation with

   3    a potential foreign source related to importing

   4    pentobarbital since that time?

   5            A.         Not that I can recall.

   6            Q.         And would the same be true of the sources

   7    you discussed in India?

   8            A.         Yes.

   9            Q.         Do you have any reason to believe that

  10    the sources in Europe wouldn't supply TDOC with

  11    pentobarbital, notwithstanding the DEA issue?

  12                       MR. SUTHERLAND:       Object to the form.

  13                       THE WITNESS:      I have no idea.
  14    BY MS. NELSON MAJOR:

  15            Q.         What about the sources in India?

  16            A.         I don't know.
  17            Q.         You previously talked about oral

  18    preparations, and you indicated that the pharmacy does

  19    in fact prepare oral preparations.              What sorts of drugs

  20    does the pharmacy prepare for oral administration?

  21            A.         It could be antibiotics, various other

  22    drugs.
  23            Q.         Are oral preparations a routine part of

  24    the pharmacy's business?

  25            A.         Yes.

                                   *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 138 of 140 PageID #: 11375
         9,'(27$3('9,'(2&21)(5(1&('(326,7,212)3+$50$&<2:1(5
                                                               137


   1            Q.         Who paid for your plane ticket to
   2    Tennessee today?

   3            A.         I did.

   4            Q.         Did you also pay for your hotel?

   5            A.         I did.

   6                       MS. NELSON MAJOR:        Just a moment.

   7                       (Pause.)

   8                       MS. NELSON MAJOR:        I don't have any

   9            further questions.

  10                       MR. SUTHERLAND:        All right.     Thank you.

  11                       THE VIDEOGRAPHER:        We're off the record.

  12            The time is 2:24 p.m.

  13                 (Proceedings concluded at 2:24 p.m.)
  14

  15

  16
  17

  18

  19

  20

  21

  22
  23

  24

  25

                                    *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 139 of 140 PageID #: 11376
                                                                                                    138


   1                                                    C E R T I F I C A T E
   2

   3    STATE OF TENNESSEE

   4    COUNTY OF KNOX

   5                           I, Rhonda S. Sansom, RPR, CRR, CRC, LCR #685,

   6    licensed court reporter in and for the State of

   7    Tennessee, do hereby certify that the above

   8    videoconference deposition of PHARMACY OWNER was

   9    reported by me and that the foregoing 137 pages of the

  10    transcript is a true and accurate record to the best of

  11    my knowledge, skills, and ability.

  12                                             I further certify that I am not related

  13    to nor an employee of counsel or any of the parties to
  14    the action, nor am I in any way financially interested

  15    in the outcome of this action.

  16                                             I further certify that I am duly licensed
  17    by the Tennessee Board of Court Reporting as a Licensed

  18    Court Reporter as evidenced by the LCR number and

  19    expiration date following my name below.

  20

  21

  22                                                            _________________________________
                                                                Rhonda S. Sansom, RPR, CRR, CRC
  23                                                            Tennessee LCR# 0685
          5KRQGD6DQVRP#JLEVRQUHSRUWHUVF
                                             Expiration Date: 6/30/22
  24      6LJQHU
           &1 5KRQGD6DQVRP#JLEVRQUHSRUWHUVFRP


  25

                                                               *LEVRQ&RXUW5HSRUWLQJ

Case 3:18-cv-01234 Document 184-50 Filed 03/17/22 Page 140 of 140 PageID #: 11377
